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                        COUNTY OF RIVERSIDE, RIVERSIDE
                      7 COUNTY SHERIFF’S DEPARTMENT,
                        SHERIFF CHAD BIANCO, EDGAR
                      8 DELGADO, JAMES KRACHMER, and
                        DAVID HOLM
                      9
                     10
                                                   UNITED STATES DISTRICT COURT
                     11
                                        CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
                     12
                     13
                        ESTATE OF KAUSHAL NIROULA,                        Case No. 5:23-cv-01739-JGB (SK)
                     14 by and through successors in interest,            [Hon. Jesus G. Bernal, Dist. Judge;
                        Radha Niroula and Krishna Niroula;                Hon. Steve Kim, M. Judge]
                     15 RADHA NIROULA, individually;
                        KRISHNA NIROULA, indvidually;                     COUNTY DEFENDANTS’
                     16                                                   ANSWER TO PLAINTIFFS’
                                     Plaintiffs,                          COMPLAINT FOR DAMAGES;
                     17                                                   DEMAND FOR JURY TRIAL
                               vs.
                     18
                        COUNTY OF RIVERSIDE, a public
                     19 entity; RIVERSIDE COUNTY                          Action Filed:       8/25/2023
                        SHERIFF’S DEPARTMENT;                             Trial Date:         None Set
                     20 SHERIFF CHAD BIANCO, in his
                        individual and official capacities;
                     21 EDWARD DELGADO; JAMES
                        KRACHMER; DAVID HOLM;
                     22 RONALD SANCHEZ; and DOES 1
                        through 10, individually, jointly and
                     23 severally,
                     24                   Defendants.
                     25
                     26            Defendants COUNTY OF RIVERSIDE, RIVERSIDE COUNTY SHERIFF’S
                     27 DEPARTMENT, SHERIFF CHAD BIANCO, EDWARD DELGADO, JAMES

LEWIS                28 KRACHMER, and DAVID HOLM (“Defendants”) hereby answer Plaintiffs’
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                      1 Complaint for Damages (Doc. 1; hereinafter referred to as the “Complaint”) and
                      2 Defendants hereby admit, deny, and allege as follows:
                      3                              ANSWER TO COMPLAINT
                      4            1.   Answering paragraph 1 of the Complaint, under the header
                      5 “Introduction”: Defendants are without sufficient knowledge or information to form
                      6 a belief as to the truth of the allegations contained in said paragraph, and on the basis
                      7 deny each and every allegation contained therein.
                      8            2.   Answering paragraph 2 of the Complaint, under the header
                      9 “Introduction”: Defendants are without sufficient knowledge or information to form
                     10 a belief as to the truth of the allegations contained in said paragraph, and on the basis
                     11 deny each and every allegation contained therein.
                     12            3.   Answering paragraph 3 of the Complaint, under the header
                     13 “Introduction”: Defendants are without sufficient knowledge or information to form
                     14 a belief as to the truth of the allegations contained in said paragraph, and on the basis
                     15 deny each and every allegation contained therein.
                     16            4.   Answering paragraph 4 of the Complaint, under the header
                     17 “Introduction”: Defendants are without sufficient knowledge or information to form
                     18 a belief as to the truth of the allegations contained in said paragraph, and on the basis
                     19 deny each and every allegation contained therein.
                     20            5.   Answering paragraph 5 of the Complaint, under the header
                     21 “Introduction”: Defendants are without sufficient knowledge or information to form
                     22 a belief as to the truth of the allegations contained in said paragraph, and on the basis
                     23 deny each and every allegation contained therein.
                     24            6.   Answering paragraph 6 of the Complaint, under the header
                     25 “Introduction”: Defendants are without sufficient knowledge or information to form
                     26 a belief as to the truth of the allegations contained in said paragraph, and on the basis
                     27 deny each and every allegation contained therein.

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                      1            7.    Answering paragraph 7 of the Complaint, under the header
                      2 “Introduction”: Defendants are without sufficient knowledge or information to form
                      3 a belief as to the truth of the allegations contained in said paragraph, and on the basis
                      4 deny each and every allegation contained therein.
                      5            8.    Answering paragraph 8 of the Complaint, under the header
                      6 “Introduction”: Defendants are without sufficient knowledge or information to form
                      7 a belief as to the truth of the allegations contained in said paragraph, and on the basis
                      8 deny each and every allegation contained therein.
                      9            9.    Answering paragraph 9 of the Complaint, under the header “Jurisdiction
                     10 and Venue”: Defendants admit that jurisdiction is vested in this Court under 28 U.S.C.
                     11 § 1331 and 28 U.S.C. § 1343.
                     12            10.   Answering paragraph 10 of the Complaint, under the header
                     13 “Jurisdiction and Venue”: Defendants are without sufficient knowledge or
                     14 information to form a belief as to the truth of the allegations contained in said
                     15 paragraph, and on the basis deny each and every allegation contained therein.
                     16            11.   Answering paragraph 11 of the Complaint, under the header
                     17 “Jurisdiction and Venue”: Defendants admit that venue is proper under 28 U.S.C. §
                     18 1391(b)(1) and (2).
                     19            12.   Answering paragraph 12 of the Complaint, under the header “Pendant
                     20 Claims”: Defendants are without sufficient knowledge or information to form a belief
                     21 as to the truth of the allegations contained in said paragraph, and on the basis deny
                     22 each and every allegation contained therein.
                     23            13.   Answering paragraph 13 of the Complaint, under the header “Pendant
                     24 Claims”: Defendants are without sufficient knowledge or information to form a belief
                     25 as to the truth of the allegations contained in said paragraph, and on the basis deny
                     26 each and every allegation contained therein.
                     27            14.   Answering paragraph 14 of the Complaint, under the header “Parties –

LEWIS                28 Plaintiffs”: Defendants are without sufficient knowledge or information to form a
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                      1 belief as to the truth of the allegations contained in said paragraph, and on the basis
                      2 deny each and every allegation contained therein.
                      3            15.   Answering paragraph 15 of the Complaint, under the header “Parties –
                      4 Plaintiffs”: Defendants are without sufficient knowledge or information to form a
                      5 belief as to the truth of the allegations contained in said paragraph, and on the basis
                      6 deny each and every allegation contained therein.
                      7            16.   Answering paragraph 16 of the Complaint, under the header “Parties –
                      8 Plaintiffs”: Defendants are without sufficient knowledge or information to form a
                      9 belief as to the truth of the allegations contained in said paragraph, and on the basis
                     10 deny each and every allegation contained therein.
                     11            17.   Answering paragraph 17 of the Complaint, under the header “Parties –
                     12 Defendants”: Defendants admit that Defendant County of Riverside is a public entity
                     13 organized under the laws of the State of California. As to the remaining allegations
                     14 in this paragraph, at present, Defendants do not have sufficient knowledge, or
                     15 information or belief, to enable Defendants to answer the remaining allegations
                     16 contained within such paragraph, as stated, and on those grounds deny generally and
                     17 specifically each and every of the remaining allegations contained therein.
                     18            18.   Answering paragraph 18 of the Complaint, under the header “Parties –
                     19 Defendants”: Defendants admit that Chad Bianco was at all relevant times the Sheriff-
                     20 Coroner of Riverside County Sheriff’s Department (RCSD). As to the remaining
                     21 allegations in this paragraph, at present, Defendants do not have sufficient knowledge,
                     22 or information or belief, to enable Defendants to answer the remaining allegations
                     23 contained within such paragraph, as stated, and on those grounds deny generally and
                     24 specifically each and every of the remaining allegations contained therein.
                     25 Defendants deny all liability and/or wrongdoing.
                     26            19.   Answering paragraph 19 of the Complaint, under the header “Parties –
                     27 Defendants”: Defendants admit that Edward Delgado was at all relevant times the

LEWIS                28 Corrections Assistant Chief of RCSD. As to the remaining allegations in this
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                      1 paragraph, at present, Defendants do not have sufficient knowledge, or information
                      2 or belief, to enable Defendants to answer the remaining allegations contained within
                      3 such paragraph, as stated, and on those grounds deny generally and specifically each
                      4 and every of the remaining allegations contained therein. Defendants deny all liability
                      5 and/or wrongdoing.
                      6            20.   Answering paragraph 20 of the Complaint, under the header “Parties –
                      7 Defendants”: Defendants admit that James Krachmer was at all relevant times the
                      8 Corrections Chief Deputy of RCSD. As to the remaining allegations in this paragraph,
                      9 at present, Defendants do not have sufficient knowledge, or information or belief, to
                     10 enable Defendants to answer the remaining allegations contained within such
                     11 paragraph, as stated, and on those grounds deny generally and specifically each and
                     12 every of the remaining allegations contained therein. Defendants deny all liability
                     13 and/or wrongdoing.
                     14            21.   Answering paragraph 21 of the Complaint, under the header “Parties –
                     15 Defendants”: Defendants admit that David Holm was at all relevant times the
                     16 Corrections Captain of Cois M. Byrd Detention Center.               As to the remaining
                     17 allegations in this paragraph, at present, Defendants do not have sufficient knowledge,
                     18 or information or belief, to enable Defendants to answer the remaining allegations
                     19 contained within such paragraph, as stated, and on those grounds deny generally and
                     20 specifically each and every of the remaining allegations contained therein.
                     21 Defendants deny all liability and/or wrongdoing.
                     22            22.   Answering paragraph 22 of the Complaint, under the header “Parties –
                     23 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                     24 to enable Defendants to answer the allegations contained within such paragraph, as
                     25 stated, and on those grounds deny generally and specifically each and every of the
                     26 remaining allegations contained therein.          Defendants deny all liability and/or
                     27 wrongdoing.

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                      1            23.   Answering paragraph 23 of the Complaint, under the header “Parties –
                      2 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                      3 to enable Defendants to answer the allegations contained within such paragraph, as
                      4 stated, and on those grounds deny generally and specifically each and every of the
                      5 remaining allegations contained therein.          Defendants deny all liability and/or
                      6 wrongdoing.
                      7            24.   Answering paragraph 24 of the Complaint, under the header “Parties –
                      8 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                      9 to enable Defendants to answer the allegations contained within such paragraph, as
                     10 stated, and on those grounds deny generally and specifically each and every of the
                     11 remaining allegations contained therein.          Defendants deny all liability and/or
                     12 wrongdoing.
                     13            25.   Answering paragraph 25 of the Complaint, under the header “Parties –
                     14 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                     15 to enable Defendants to answer the allegations contained within such paragraph, as
                     16 stated, and on those grounds deny generally and specifically each and every of the
                     17 remaining allegations contained therein.          Defendants deny all liability and/or
                     18 wrongdoing.
                     19            26.   Answering paragraph 26 of the Complaint, under the header “Parties –
                     20 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                     21 to enable Defendants to answer the allegations contained within such paragraph, as
                     22 stated, and on those grounds deny generally and specifically each and every of the
                     23 remaining allegations contained therein.          Defendants deny all liability and/or
                     24 wrongdoing.
                     25            27.   Answering paragraph 27 of the Complaint, under the header “Parties –
                     26 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                     27 to enable Defendants to answer the allegations contained within such paragraph, as

LEWIS                28 stated, and on those grounds deny generally and specifically each and every of the
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                      1 remaining allegations contained therein.          Defendants deny all liability and/or
                      2 wrongdoing.
                      3            28.   Answering paragraph 28 of the Complaint, under the header “Parties –
                      4 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                      5 to enable Defendants to answer the allegations contained within such paragraph, as
                      6 stated, and on those grounds deny generally and specifically each and every of the
                      7 remaining allegations contained therein.          Defendants deny all liability and/or
                      8 wrongdoing.
                      9            29.   Answering paragraph 29 of the Complaint, under the header “Parties –
                     10 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                     11 to enable Defendants to answer the allegations contained within such paragraph, as
                     12 stated, and on those grounds deny generally and specifically each and every of the
                     13 remaining allegations contained therein.          Defendants deny all liability and/or
                     14 wrongdoing.
                     15            30.   Answering paragraph 30 of the Complaint, under the header “Parties –
                     16 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                     17 to enable Defendants to answer the allegations contained within such paragraph, as
                     18 stated, and on those grounds deny generally and specifically each and every of the
                     19 remaining allegations contained therein.          Defendants deny all liability and/or
                     20 wrongdoing.
                     21            31.   Answering paragraph 31 of the Complaint, under the header “Parties –
                     22 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                     23 to enable Defendants to answer the allegations contained within such paragraph, as
                     24 stated, and on those grounds deny generally and specifically each and every of the
                     25 remaining allegations contained therein.          Defendants deny all liability and/or
                     26 wrongdoing.
                     27            32.   Answering paragraph 32 of the Complaint, under the header “Parties –

LEWIS                28 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
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                      1 to enable Defendants to answer the allegations contained within such paragraph, as
                      2 stated, and on those grounds deny generally and specifically each and every of the
                      3 remaining allegations contained therein.          Defendants deny all liability and/or
                      4 wrongdoing.
                      5            33.   Answering paragraph 33 of the Complaint, under the header “Parties –
                      6 Defendants”: Defendants do not have sufficient knowledge, or information or belief,
                      7 to enable Defendants to answer the allegations contained within such paragraph, as
                      8 stated, and on those grounds deny generally and specifically each and every of the
                      9 remaining allegations contained therein.          Defendants deny all liability and/or
                     10 wrongdoing.
                     11            34.   Answering paragraph 34 of the Complaint, under the header “Factual
                     12 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     13 in this paragraph.       Defendants deny all of the allegations in this paragraph.
                     14 Defendants do not have sufficient knowledge, or information or belief, to enable
                     15 Defendants to answer the allegations contained within such paragraph, as stated, and
                     16 on those grounds deny generally and specifically each and every of the allegations
                     17 contained therein. Defendants deny all liability and/or wrongdoing.
                     18            35.   Answering paragraph 35 of the Complaint, under the header “Factual
                     19 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     20 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     21 belief, to enable Defendants to answer the allegations contained within such
                     22 paragraph, as stated, and on those grounds deny generally and specifically each and
                     23 every of the allegations contained therein. Defendants deny all liability and/or
                     24 wrongdoing.
                     25            36.   Answering paragraph 36 of the Complaint, under the header “Factual
                     26 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     27 in this paragraph. Defendants do not have sufficient knowledge, or information or

LEWIS                28 belief, to enable Defendants to answer the allegations contained within such
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                      1 paragraph, as stated, and on those grounds deny generally and specifically each and
                      2 every of the allegations contained therein. Defendants deny all liability and/or
                      3 wrongdoing.
                      4            37.   Answering paragraph 37 of the Complaint, under the header “Factual
                      5 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                      6 in this paragraph. Defendants do not have sufficient knowledge, or information or
                      7 belief, to enable Defendants to answer the allegations contained within such
                      8 paragraph, as stated, and on those grounds deny generally and specifically each and
                      9 every of the allegations contained therein. Defendants deny all liability and/or
                     10 wrongdoing.
                     11            38.   Answering paragraph 38 of the Complaint, under the header “Factual
                     12 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     13 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     14 belief, to enable Defendants to answer the allegations contained within such
                     15 paragraph, as stated, and on those grounds deny generally and specifically each and
                     16 every of the allegations contained therein. Defendants deny all liability and/or
                     17 wrongdoing.
                     18            39.   Answering paragraph 39 of the Complaint, under the header “Factual
                     19 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     20 in this paragraph.        Defendants deny all of the allegations in this paragraph.
                     21 Defendants do not have sufficient knowledge, or information or belief, to enable
                     22 Defendants to answer the allegations contained within such paragraph, as stated, and
                     23 on those grounds deny generally and specifically each and every of the allegations
                     24 contained therein. Defendants deny all liability and/or wrongdoing.
                     25            40.   Answering paragraph 40 of the Complaint, including insert paragraphs I
                     26 – II, under the header “Factual Allegations Common to All Causes of Action”:
                     27 Defendants deny all of the allegations in this paragraph. Defendants do not have

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                      1 allegations contained within such paragraph, as stated, and on those grounds deny
                      2 generally and specifically each and every of the allegations contained therein.
                      3 Defendants deny all liability and/or wrongdoing.
                      4            41.   Answering paragraph 41 of the Complaint, under the header “Factual
                      5 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                      6 in this paragraph. Defendants do not have sufficient knowledge, or information or
                      7 belief, to enable Defendants to answer the allegations contained within such
                      8 paragraph, as stated, and on those grounds deny generally and specifically each and
                      9 every of the allegations contained therein. Defendants deny all liability and/or
                     10 wrongdoing.
                     11            42.   Answering paragraph 42 of the Complaint, under the header “Factual
                     12 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     13 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     14 belief, to enable Defendants to answer the allegations contained within such
                     15 paragraph, as stated, and on those grounds deny generally and specifically each and
                     16 every of the allegations contained therein. Defendants deny all liability and/or
                     17 wrongdoing.
                     18            43.   Answering paragraph 43 of the Complaint, under the header “Factual
                     19 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     20 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     21 belief, to enable Defendants to answer the allegations contained within such
                     22 paragraph, as stated, and on those grounds deny generally and specifically each and
                     23 every of the allegations contained therein. Defendants deny all liability and/or
                     24 wrongdoing.
                     25            44.   Answering paragraph 44 of the Complaint, and insert paragraphs 19 –
                     26 35, under the header “Factual Allegations Common to All Causes of Action”:
                     27 Defendants deny all of the allegations in this paragraph. Defendants do not have

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                      1 allegations contained within such paragraph, as stated, and on those grounds deny
                      2 generally and specifically each and every of the allegations contained therein.
                      3 Defendants deny all liability and/or wrongdoing.
                      4            45.   Answering paragraph 45 of the Complaint, under the header “Factual
                      5 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                      6 in this paragraph. Defendants do not have sufficient knowledge, or information or
                      7 belief, to enable Defendants to answer the allegations contained within such
                      8 paragraph, as stated, and on those grounds deny generally and specifically each and
                      9 every of the allegations contained therein. Defendants deny all liability and/or
                     10 wrongdoing.
                     11            46.   Answering paragraph 46 of the Complaint, under the header “Factual
                     12 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     13 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     14 belief, to enable Defendants to answer the allegations contained within such
                     15 paragraph, as stated, and on those grounds deny generally and specifically each and
                     16 every of the allegations contained therein. Defendants deny all liability and/or
                     17 wrongdoing.
                     18            47.   Answering paragraph 47 of the Complaint, under the header “Factual
                     19 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     20 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     21 belief, to enable Defendants to answer the allegations contained within such
                     22 paragraph, as stated, and on those grounds deny generally and specifically each and
                     23 every of the allegations contained therein. Defendants deny all liability and/or
                     24 wrongdoing.
                     25            48.   Answering paragraph 48 of the Complaint, under the header “Factual
                     26 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     27 in this paragraph. Defendants do not have sufficient knowledge, or information or

LEWIS                28 belief, to enable Defendants to answer the allegations contained within such
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                      1 paragraph, as stated, and on those grounds deny generally and specifically each and
                      2 every of the allegations contained therein. Defendants deny all liability and/or
                      3 wrongdoing.
                      4            49.   Answering paragraph 49 of the Complaint, under the header “Factual
                      5 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                      6 in this paragraph. Defendants do not have sufficient knowledge, or information or
                      7 belief, to enable Defendants to answer the allegations contained within such
                      8 paragraph, as stated, and on those grounds deny generally and specifically each and
                      9 every of the allegations contained therein. Defendants deny all liability and/or
                     10 wrongdoing.
                     11            50.   Answering paragraph 50 of the Complaint, under the header “Factual
                     12 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     13 in this paragraph and its subparagraphs a) through f). Defendants do not have
                     14 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     15 allegations contained within such paragraph, as stated, and on those grounds deny
                     16 generally and specifically each and every of the allegations contained therein.
                     17 Defendants deny all liability and/or wrongdoing.
                     18            51.   Answering paragraph 51 of the Complaint, under the header “Factual
                     19 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     20 in this paragraph and its subparagraphs a) through e). Defendants do not have
                     21 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     22 allegations contained within such paragraph, as stated, and on those grounds deny
                     23 generally and specifically each and every of the allegations contained therein.
                     24 Defendants deny all liability and/or wrongdoing.
                     25            52.   Answering paragraph 52 of the Complaint, under the header “Factual
                     26 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     27 in this paragraph. Defendants do not have sufficient knowledge, or information or

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                      1 paragraph, as stated, and on those grounds deny generally and specifically each and
                      2 every of the allegations contained therein. Defendants deny all liability and/or
                      3 wrongdoing.
                      4            53.   Answering paragraph 53 of the Complaint, under the header “Factual
                      5 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                      6 in this paragraph. Defendants do not have sufficient knowledge, or information or
                      7 belief, to enable Defendants to answer the allegations contained within such
                      8 paragraph, as stated, and on those grounds deny generally and specifically each and
                      9 every of the allegations contained therein. Defendants deny all liability and/or
                     10 wrongdoing.
                     11            54.   Answering paragraph 54 of the Complaint, under the header “Factual
                     12 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     13 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     14 belief, to enable Defendants to answer the allegations contained within such
                     15 paragraph, as stated, and on those grounds deny generally and specifically each and
                     16 every of the allegations contained therein. Defendants deny all liability and/or
                     17 wrongdoing.
                     18            55.   Answering paragraph 55 of the Complaint, under the header “Factual
                     19 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     20 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     21 belief, to enable Defendants to answer the allegations contained within such
                     22 paragraph, as stated, and on those grounds deny generally and specifically each and
                     23 every of the allegations contained therein. Defendants deny all liability and/or
                     24 wrongdoing.
                     25            56.   Answering paragraph 56 of the Complaint, under the header “Factual
                     26 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     27 in this paragraph. Defendants do not have sufficient knowledge, or information or

LEWIS                28 belief, to enable Defendants to answer the allegations contained within such
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                      1 paragraph, as stated, and on those grounds deny generally and specifically each and
                      2 every of the allegations contained therein. Defendants deny all liability and/or
                      3 wrongdoing.
                      4            57.   Answering paragraph 57 of the Complaint, under the header “Factual
                      5 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                      6 in this paragraph. Defendants do not have sufficient knowledge, or information or
                      7 belief, to enable Defendants to answer the allegations contained within such
                      8 paragraph, as stated, and on those grounds deny generally and specifically each and
                      9 every of the allegations contained therein. Defendants deny all liability and/or
                     10 wrongdoing.
                     11            58.   Answering paragraph 58 of the Complaint, under the header “Factual
                     12 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     13 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     14 belief, to enable Defendants to answer the allegations contained within such
                     15 paragraph, as stated, and on those grounds deny generally and specifically each and
                     16 every of the allegations contained therein. Defendants deny all liability and/or
                     17 wrongdoing.
                     18            59.   Answering paragraph 59 of the Complaint, under the header “Factual
                     19 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     20 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     21 belief, to enable Defendants to answer the allegations contained within such
                     22 paragraph, as stated, and on those grounds deny generally and specifically each and
                     23 every of the allegations contained therein. Defendants deny all liability and/or
                     24 wrongdoing.
                     25            60.   Answering paragraph 60 of the Complaint, under the header “Factual
                     26 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     27 in this paragraph. Defendants do not have sufficient knowledge, or information or

LEWIS                28 belief, to enable Defendants to answer the allegations contained within such
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                      1 paragraph, as stated, and on those grounds deny generally and specifically each and
                      2 every of the allegations contained therein. Defendants deny all liability and/or
                      3 wrongdoing.
                      4            61.   Answering paragraph 61 of the Complaint, under the header “Factual
                      5 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                      6 in this paragraph. Defendants do not have sufficient knowledge, or information or
                      7 belief, to enable Defendants to answer the allegations contained within such
                      8 paragraph, as stated, and on those grounds deny generally and specifically each and
                      9 every of the allegations contained therein. Defendants deny all liability and/or
                     10 wrongdoing.
                     11            62.   Answering paragraph 62 of the Complaint, under the header “Factual
                     12 Allegations Common to All Causes of Action”: Defendants deny all of the allegations
                     13 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     14 belief, to enable Defendants to answer the allegations contained within such
                     15 paragraph, as stated, and on those grounds deny generally and specifically each and
                     16 every of the allegations contained therein. Defendants deny all liability and/or
                     17 wrongdoing.
                     18            63.   Answering paragraph 63 of the Complaint, under the header “Factual
                     19 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     20 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     21 knowledge, or information or belief, to enable Defendants to answer the allegations
                     22 contained within such paragraph, as stated, and on those grounds deny generally and
                     23 specifically each and every of the allegations contained therein. Defendants deny all
                     24 liability and/or wrongdoing.
                     25            64.   Answering paragraph 64 of the Complaint, under the header “Factual
                     26 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     27 not have sufficient knowledge, or information or belief, to enable Defendants to

LEWIS                28 answer the allegations contained within such paragraph, as stated, and on those
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                      1 grounds deny generally and specifically each and every of the allegations contained
                      2 therein. Defendants deny all liability and/or wrongdoing.
                      3            65.   Answering paragraph 65 of the Complaint, under the header “Factual
                      4 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                      5 not have sufficient knowledge, or information or belief, to enable Defendants to
                      6 answer the allegations contained within such paragraph and its subparagraphs a)
                      7 through r), as stated, and on those grounds deny generally and specifically each and
                      8 every of the allegations contained therein. Defendants deny all liability and/or
                      9 wrongdoing.
                     10            66.   Answering paragraph 66 of the Complaint, under the header “Factual
                     11 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     12 not have sufficient knowledge, or information or belief, to enable Defendants to
                     13 answer the allegations contained within such paragraph, as stated, and on those
                     14 grounds deny generally and specifically each and every of the allegations contained
                     15 therein. Defendants deny all liability and/or wrongdoing.
                     16            67.   Answering paragraph 67 of the Complaint, under the header “Factual
                     17 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     18 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     19 knowledge, or information or belief, to enable Defendants to answer the allegations
                     20 contained within such paragraph, as stated, and on those grounds deny generally and
                     21 specifically each and every of the allegations contained therein. Defendants deny all
                     22 liability and/or wrongdoing.
                     23            68.   Answering paragraph 68 of the Complaint, under the header “Factual
                     24 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     25 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     26 knowledge, or information or belief, to enable Defendants to answer the allegations
                     27 contained within such paragraph, as stated, and on those grounds deny generally and

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                      1 specifically each and every of the allegations contained therein. Defendants deny all
                      2 liability and/or wrongdoing.
                      3            69.   Answering paragraph 69 of the Complaint, under the header “Factual
                      4 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                      5 deny all of the allegations in this paragraph. Defendants do not have sufficient
                      6 knowledge, or information or belief, to enable Defendants to answer the allegations
                      7 contained within such paragraph, as stated, and on those grounds deny generally and
                      8 specifically each and every of the allegations contained therein. Defendants deny all
                      9 liability and/or wrongdoing.
                     10            70.   Answering paragraph 70 of the Complaint, under the header “Factual
                     11 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     12 deny all of the allegations in this paragraph and its subparagraphs a) through h).
                     13 Defendants do not have sufficient knowledge, or information or belief, to enable
                     14 Defendants to answer the allegations contained within such paragraph, as stated, and
                     15 on those grounds deny generally and specifically each and every of the allegations
                     16 contained therein. Defendants deny all liability and/or wrongdoing.
                     17            71.   Answering paragraph 71 of the Complaint, under the header “Factual
                     18 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     19 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     20 knowledge, or information or belief, to enable Defendants to answer the allegations
                     21 contained within such paragraph, as stated, and on those grounds deny generally and
                     22 specifically each and every of the allegations contained therein. Defendants deny all
                     23 liability and/or wrongdoing.
                     24            72.   Answering paragraph 72 of the Complaint, under the header “Factual
                     25 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     26 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     27 knowledge, or information or belief, to enable Defendants to answer the allegations

LEWIS                28 contained within such paragraph, as stated, and on those grounds deny generally and
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                      1 specifically each and every of the allegations contained therein. Defendants deny all
                      2 liability and/or wrongdoing.
                      3            73.   Answering paragraph 73 of the Complaint, under the header “Factual
                      4 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                      5 deny all of the allegations in this paragraph. Defendants do not have sufficient
                      6 knowledge, or information or belief, to enable Defendants to answer the allegations
                      7 contained within such paragraph, as stated, and on those grounds deny generally and
                      8 specifically each and every of the allegations contained therein. Defendants deny all
                      9 liability and/or wrongdoing.
                     10            74.   Answering paragraph 74 of the Complaint, under the header “Factual
                     11 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     12 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     13 knowledge, or information or belief, to enable Defendants to answer the allegations
                     14 contained within such paragraph, as stated, and on those grounds deny generally and
                     15 specifically each and every of the allegations contained therein. Defendants deny all
                     16 liability and/or wrongdoing.
                     17            75.   Answering paragraph 75 of the Complaint, under the header “Factual
                     18 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     19 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     20 knowledge, or information or belief, to enable Defendants to answer the allegations
                     21 contained within such paragraph, as stated, and on those grounds deny generally and
                     22 specifically each and every of the allegations contained therein. Defendants deny all
                     23 liability and/or wrongdoing.
                     24            76.   Answering paragraph 76 of the Complaint, under the header “Factual
                     25 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     26 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     27 knowledge, or information or belief, to enable Defendants to answer the allegations

LEWIS                28 contained within such paragraph, as stated, and on those grounds deny generally and
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                      1 specifically each and every of the allegations contained therein. Defendants deny all
                      2 liability and/or wrongdoing.
                      3            77.   Answering paragraph 77 of the Complaint, under the header “Factual
                      4 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                      5 deny all of the allegations in this paragraph. Defendants do not have sufficient
                      6 knowledge, or information or belief, to enable Defendants to answer the allegations
                      7 contained within such paragraph, as stated, and on those grounds deny generally and
                      8 specifically each and every of the allegations contained therein. Defendants deny all
                      9 liability and/or wrongdoing.
                     10            78.   Answering paragraph 78 of the Complaint, under the header “Factual
                     11 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     12 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     13 knowledge, or information or belief, to enable Defendants to answer the allegations
                     14 contained within such paragraph, as stated, and on those grounds deny generally and
                     15 specifically each and every of the allegations contained therein. Defendants deny all
                     16 liability and/or wrongdoing.
                     17            79.   Answering paragraph 79 of the Complaint, under the header “Factual
                     18 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     19 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     20 knowledge, or information or belief, to enable Defendants to answer the allegations
                     21 contained within such paragraph, as stated, and on those grounds deny generally and
                     22 specifically each and every of the allegations contained therein. Defendants deny all
                     23 liability and/or wrongdoing.
                     24            80.   Answering paragraph 80 of the Complaint, under the header “Factual
                     25 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     26 not have sufficient knowledge, or information or belief, to enable Defendants to
                     27 answer the allegations contained within such paragraph, as stated, and on those

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                      1 grounds deny generally and specifically each and every of the allegations contained
                      2 therein. Defendants deny all liability and/or wrongdoing.
                      3            81.   Answering paragraph 81 of the Complaint, under the header “Factual
                      4 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                      5 not have sufficient knowledge, or information or belief, to enable Defendants to
                      6 answer the allegations contained within such paragraph, as stated, and on those
                      7 grounds deny generally and specifically each and every of the allegations contained
                      8 therein. Defendants deny all liability and/or wrongdoing.
                      9            82.   Answering paragraph 82 of the Complaint, under the header “Factual
                     10 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     11 not have sufficient knowledge, or information or belief, to enable Defendants to
                     12 answer the allegations contained within such paragraph, as stated, and on those
                     13 grounds deny generally and specifically each and every of the allegations contained
                     14 therein. Defendants deny all liability and/or wrongdoing.
                     15            83.   Answering paragraph 83 of the Complaint, under the header “Factual
                     16 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     17 not have sufficient knowledge, or information or belief, to enable Defendants to
                     18 answer the allegations contained within such paragraph and its subparagraphs a)
                     19 through f), as stated, and on those grounds deny generally and specifically each and
                     20 every of the allegations contained therein. Defendants deny all liability and/or
                     21 wrongdoing.
                     22            84.   Answering paragraph 84 of the Complaint, under the header “Factual
                     23 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     24 not have sufficient knowledge, or information or belief, to enable Defendants to
                     25 answer the allegations contained within such paragraph, as stated, and on those
                     26 grounds deny generally and specifically each and every of the allegations contained
                     27 therein. Defendants deny all liability and/or wrongdoing.

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                      1            85.   Answering paragraph 85 of the Complaint, under the header “Factual
                      2 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                      3 not have sufficient knowledge, or information or belief, to enable Defendants to
                      4 answer the allegations contained within such paragraph, as stated, and on those
                      5 grounds deny generally and specifically each and every of the allegations contained
                      6 therein. Defendants deny all liability and/or wrongdoing.
                      7            86.   Answering paragraph 86 of the Complaint, under the header “Factual
                      8 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                      9 not have sufficient knowledge, or information or belief, to enable Defendants to
                     10 answer the allegations contained within such paragraph, as stated, and on those
                     11 grounds deny generally and specifically each and every of the allegations contained
                     12 therein. Defendants deny all liability and/or wrongdoing.
                     13            87.   Answering paragraph 87 of the Complaint, under the header “Factual
                     14 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     15 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     16 knowledge, or information or belief, to enable Defendants to answer the allegations
                     17 contained within such paragraph, as stated, and on those grounds deny generally and
                     18 specifically each and every of the allegations contained therein. Defendants deny all
                     19 liability and/or wrongdoing.
                     20            88.   Answering paragraph 88 of the Complaint, under the header “Factual
                     21 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     22 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     23 knowledge, or information or belief, to enable Defendants to answer the allegations
                     24 contained within such paragraph, as stated, and on those grounds deny generally and
                     25 specifically each and every of the allegations contained therein. Defendants deny all
                     26 liability and/or wrongdoing.
                     27            89.   Answering paragraph 89 of the Complaint, under the header “Factual

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                      1 deny all of the allegations in this paragraph. Defendants do not have sufficient
                      2 knowledge, or information or belief, to enable Defendants to answer the allegations
                      3 contained within such paragraph, as stated, and on those grounds deny generally and
                      4 specifically each and every of the allegations contained therein. Defendants deny all
                      5 liability and/or wrongdoing.
                      6            90.   Answering paragraph 90 of the Complaint, under the header “Factual
                      7 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                      8 deny all of the allegations in this paragraph. Defendants do not have sufficient
                      9 knowledge, or information or belief, to enable Defendants to answer the allegations
                     10 contained within such paragraph, as stated, and on those grounds deny generally and
                     11 specifically each and every of the allegations contained therein. Defendants deny all
                     12 liability and/or wrongdoing.
                     13            91.   Answering paragraph 91 of the Complaint, under the header “Factual
                     14 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     15 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     16 knowledge, or information or belief, to enable Defendants to answer the allegations
                     17 contained within such paragraph, as stated, and on those grounds deny generally and
                     18 specifically each and every of the allegations contained therein. Defendants deny all
                     19 liability and/or wrongdoing.
                     20            92.   Answering paragraph 92 of the Complaint, under the header “Factual
                     21 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     22 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     23 knowledge, or information or belief, to enable Defendants to answer the allegations
                     24 contained within such paragraph, as stated, and on those grounds deny generally and
                     25 specifically each and every of the allegations contained therein. Defendants deny all
                     26 liability and/or wrongdoing.
                     27            93.   Answering paragraph 93 of the Complaint, under the header “Factual

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                      1 deny all of the allegations in this paragraph. Defendants do not have sufficient
                      2 knowledge, or information or belief, to enable Defendants to answer the allegations
                      3 contained within such paragraph, as stated, and on those grounds deny generally and
                      4 specifically each and every of the allegations contained therein. Defendants deny all
                      5 liability and/or wrongdoing.
                      6            94.   Answering paragraph 94 of the Complaint, under the header “Factual
                      7 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                      8 deny all of the allegations in this paragraph. Defendants do not have sufficient
                      9 knowledge, or information or belief, to enable Defendants to answer the allegations
                     10 contained within such paragraph, as stated, and on those grounds deny generally and
                     11 specifically each and every of the allegations contained therein. Defendants deny all
                     12 liability and/or wrongdoing.
                     13            95.   Answering paragraph 95 of the Complaint, under the header “Factual
                     14 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     15 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     16 knowledge, or information or belief, to enable Defendants to answer the allegations
                     17 contained within such paragraph, as stated, and on those grounds deny generally and
                     18 specifically each and every of the allegations contained therein. Defendants deny all
                     19 liability and/or wrongdoing.
                     20            96.   Answering paragraph 96 of the Complaint, under the header “Factual
                     21 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     22 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     23 knowledge, or information or belief, to enable Defendants to answer the allegations
                     24 contained within such paragraph, as stated, and on those grounds deny generally and
                     25 specifically each and every of the allegations contained therein. Defendants deny all
                     26 liability and/or wrongdoing.
                     27            97.   Answering paragraph 97 of the Complaint, under the header “Factual

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                      1 not have sufficient knowledge, or information or belief, to enable Defendants to
                      2 answer the allegations contained within such paragraph, as stated, and on those
                      3 grounds deny generally and specifically each and every of the allegations contained
                      4 therein. Defendants deny all liability and/or wrongdoing.
                      5            98.   Answering paragraph 98 of the Complaint, under the header “Factual
                      6 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                      7 not have sufficient knowledge, or information or belief, to enable Defendants to
                      8 answer the allegations contained within such paragraph, as stated, and on those
                      9 grounds deny generally and specifically each and every of the allegations contained
                     10 therein. Defendants deny all liability and/or wrongdoing.
                     11            99.   Answering paragraph 99 of the Complaint, under the header “Factual
                     12 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     13 not have sufficient knowledge, or information or belief, to enable Defendants to
                     14 answer the allegations contained within such paragraph, as stated, and on those
                     15 grounds deny generally and specifically each and every of the allegations contained
                     16 therein. Defendants deny all liability and/or wrongdoing.
                     17            100. Answering paragraph 100 of the Complaint, under the header “Factual
                     18 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     19 not have sufficient knowledge, or information or belief, to enable Defendants to
                     20 answer the allegations contained within such paragraph, as stated, and on those
                     21 grounds deny generally and specifically each and every of the allegations contained
                     22 therein. Defendants deny all liability and/or wrongdoing.
                     23            101. Answering paragraph 101 of the Complaint, under the header “Factual
                     24 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     25 not have sufficient knowledge, or information or belief, to enable Defendants to
                     26 answer the allegations contained within such paragraph, as stated, and on those
                     27 grounds deny generally and specifically each and every of the allegations contained

LEWIS                28 therein. Defendants deny all liability and/or wrongdoing.
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                      1            102. Answering paragraph 102 of the Complaint, under the header “Factual
                      2 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                      3 not have sufficient knowledge, or information or belief, to enable Defendants to
                      4 answer the allegations contained within such paragraph, as stated, and on those
                      5 grounds deny generally and specifically each and every of the allegations contained
                      6 therein. Defendants deny all liability and/or wrongdoing.
                      7            103. Answering paragraph 103 of the Complaint, under the header “Factual
                      8 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                      9 not have sufficient knowledge, or information or belief, to enable Defendants to
                     10 answer the allegations contained within such paragraph, as stated, and on those
                     11 grounds deny generally and specifically each and every of the allegations contained
                     12 therein. Defendants deny all liability and/or wrongdoing.
                     13            104. Answering paragraph 104 of the Complaint, under the header “Factual
                     14 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     15 not have sufficient knowledge, or information or belief, to enable Defendants to
                     16 answer the allegations contained within such paragraph, as stated, and on those
                     17 grounds deny generally and specifically each and every of the allegations contained
                     18 therein. Defendants deny all liability and/or wrongdoing.
                     19            105. Answering paragraph 105 of the Complaint, under the header “Factual
                     20 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     21 not have sufficient knowledge, or information or belief, to enable Defendants to
                     22 answer the allegations contained within such paragraph, as stated, and on those
                     23 grounds deny generally and specifically each and every of the allegations contained
                     24 therein. Defendants deny all liability and/or wrongdoing.
                     25            106. Answering paragraph 106 of the Complaint, under the header “Factual
                     26 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     27 not have sufficient knowledge, or information or belief, to enable Defendants to

LEWIS                28 answer the allegations contained within such paragraph, as stated, and on those
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                      1 grounds deny generally and specifically each and every of the allegations contained
                      2 therein. Defendants deny all liability and/or wrongdoing.
                      3            107. Answering paragraph 107 of the Complaint, under the header “Factual
                      4 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                      5 not have sufficient knowledge, or information or belief, to enable Defendants to
                      6 answer the allegations contained within such paragraph, as stated, and on those
                      7 grounds deny generally and specifically each and every of the allegations contained
                      8 therein. Defendants deny all liability and/or wrongdoing.
                      9            108. Answering paragraph 108 of the Complaint, under the header “Factual
                     10 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants do
                     11 not have sufficient knowledge, or information or belief, to enable Defendants to
                     12 answer the allegations contained within such paragraph, as stated, and on those
                     13 grounds deny generally and specifically each and every of the allegations contained
                     14 therein. Defendants deny all liability and/or wrongdoing.
                     15            109. Answering paragraph 109 of the Complaint, under the header “Factual
                     16 Allegations Common to Monell and Supervisorial Causes of Action”: Defendants
                     17 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     18 knowledge, or information or belief, to enable Defendants to answer the allegations
                     19 contained within such paragraph, as stated, and on those grounds deny generally and
                     20 specifically each and every of the allegations contained therein. Defendants deny all
                     21 liability and/or wrongdoing.
                     22            110. Answering paragraph 110 of the Complaint, under the header
                     23 “Punitive/Exemplary Damages Allegations”: Defendants deny all of the allegations
                     24 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     25 belief, to enable Defendants to answer the allegations contained within such
                     26 paragraph, as stated, and on those grounds deny generally and specifically each and
                     27 every of the allegations contained therein. Defendants deny all liability and/or

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                      1            111. Answering paragraph 111 of the Complaint, under the header
                      2 “Punitive/Exemplary Damages Allegations”: Defendants deny all of the allegations
                      3 in this paragraph. Defendants do not have sufficient knowledge, or information or
                      4 belief, to enable Defendants to answer the allegations contained within such
                      5 paragraph, as stated, and on those grounds deny generally and specifically each and
                      6 every of the allegations contained therein. Defendants deny all liability and/or
                      7 wrongdoing.
                      8            112. Answering paragraph 112 of the Complaint, under the header
                      9 “Punitive/Exemplary Damages Allegations”: Defendants deny all of the allegations
                     10 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     11 belief, to enable Defendants to answer the allegations contained within such
                     12 paragraph, as stated, and on those grounds deny generally and specifically each and
                     13 every of the allegations contained therein. Defendants deny all liability and/or
                     14 wrongdoing.
                     15            113. Answering paragraph 113 of the Complaint, under the header
                     16 “Punitive/Exemplary Damages Allegations”: Defendants deny all of the allegations
                     17 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     18 belief, to enable Defendants to answer the allegations contained within such
                     19 paragraph, as stated, and on those grounds deny generally and specifically each and
                     20 every of the allegations contained therein. Defendants deny all liability and/or
                     21 wrongdoing.
                     22            114. Answering paragraph 114 of the Complaint, under the header
                     23 “Punitive/Exemplary Damages Allegations”: Defendants deny all of the allegations
                     24 in this paragraph. Defendants do not have sufficient knowledge, or information or
                     25 belief, to enable Defendants to answer the allegations contained within such
                     26 paragraph, as stated, and on those grounds deny generally and specifically each and
                     27 every of the allegations contained therein. Defendants deny all liability and/or

LEWIS                28 wrongdoing.
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                      1            115. Answering paragraph 115 of the Complaint, under the header “First
                      2 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                      3 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                      4 § 1983)”: Whereby plaintiffs incorporate by reference plaintiffs’ prior and subsequent
                      5 allegations, defendants repeat, reiterate and re-allege all of the admissions and denials
                      6 contained in this Answer which are set forth to each and every allegation contained
                      7 in the paragraphs of Plaintiffs’ Complaint.
                      8            116. Answering paragraph 116 of the Complaint, under the header “First
                      9 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     10 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     11 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     12 not have sufficient knowledge, or information or belief, to enable Defendants to
                     13 answer the allegations contained within such paragraph, as stated, and on those
                     14 grounds deny generally and specifically each and every of the allegations contained
                     15 therein. Defendants deny all liability and/or wrongdoing.
                     16            117. Answering paragraph 117 of the Complaint, under the header “First
                     17 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     18 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     19 § 1983)”: Defendants do not have sufficient knowledge, or information or belief, to
                     20 enable Defendants to answer the allegations contained within such paragraph, as
                     21 stated, and on those grounds deny generally and specifically each and every of the
                     22 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                     23            118. Answering paragraph 118 of the Complaint, under the header “First
                     24 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     25 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     26 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     27 not have sufficient knowledge, or information or belief, to enable Defendants to

LEWIS                28 answer the allegations contained within such paragraph, as stated, and on those
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                      1 grounds deny generally and specifically each and every of the allegations contained
                      2 therein. Defendants deny all liability and/or wrongdoing.
                      3            119. Answering paragraph 119 of the Complaint, under the header “First
                      4 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                      5 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                      6 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                      7 not have sufficient knowledge, or information or belief, to enable Defendants to
                      8 answer the allegations contained within such paragraph, as stated, and on those
                      9 grounds deny generally and specifically each and every of the allegations contained
                     10 therein. Defendants deny all liability and/or wrongdoing.
                     11            120. Answering paragraph 120 of the Complaint, under the header “First
                     12 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     13 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     14 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     15 not have sufficient knowledge, or information or belief, to enable Defendants to
                     16 answer the allegations contained within such paragraph, as stated, and on those
                     17 grounds deny generally and specifically each and every of the allegations contained
                     18 therein. Defendants deny all liability and/or wrongdoing.
                     19            121. Answering paragraph 121 of the Complaint, under the header “First
                     20 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     21 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     22 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     23 not have sufficient knowledge, or information or belief, to enable Defendants to
                     24 answer the allegations contained within such paragraph, as stated, and on those
                     25 grounds deny generally and specifically each and every of the allegations contained
                     26 therein. Defendants deny all liability and/or wrongdoing.
                     27            122. Answering paragraph 122 of the Complaint, under the header “First

LEWIS                28 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
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                      1 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                      2 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                      3 not have sufficient knowledge, or information or belief, to enable Defendants to
                      4 answer the allegations contained within such paragraph, as stated, and on those
                      5 grounds deny generally and specifically each and every of the allegations contained
                      6 therein. Defendants deny all liability and/or wrongdoing.
                      7            123. Answering paragraph 123 of the Complaint, under the header “First
                      8 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                      9 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     10 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     11 not have sufficient knowledge, or information or belief, to enable Defendants to
                     12 answer the allegations contained within such paragraph, as stated, and on those
                     13 grounds deny generally and specifically each and every of the allegations contained
                     14 therein. Defendants deny all liability and/or wrongdoing.
                     15            124. Answering paragraph 124 of the Complaint, under the header “First
                     16 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     17 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     18 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     19 not have sufficient knowledge, or information or belief, to enable Defendants to
                     20 answer the allegations contained within such paragraph, as stated, and on those
                     21 grounds deny generally and specifically each and every of the allegations contained
                     22 therein. Defendants deny all liability and/or wrongdoing.
                     23            125. Answering paragraph 125 of the Complaint, under the header “First
                     24 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     25 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     26 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     27 not have sufficient knowledge, or information or belief, to enable Defendants to

LEWIS                28 answer the allegations contained within such paragraph, as stated, and on those
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& SMITH LLP
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                      1 grounds deny generally and specifically each and every of the allegations contained
                      2 therein. Defendants deny all liability and/or wrongdoing.
                      3            126. Answering paragraph 126 of the Complaint, under the header “First
                      4 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                      5 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                      6 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                      7 not have sufficient knowledge, or information or belief, to enable Defendants to
                      8 answer the allegations contained within such paragraph, as stated, and on those
                      9 grounds deny generally and specifically each and every of the allegations contained
                     10 therein. Defendants deny all liability and/or wrongdoing.
                     11            127. Answering paragraph 127 of the Complaint, under the header “First
                     12 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     13 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     14 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     15 not have sufficient knowledge, or information or belief, to enable Defendants to
                     16 answer the allegations contained within such paragraph, as stated, and on those
                     17 grounds deny generally and specifically each and every of the allegations contained
                     18 therein. Defendants deny all liability and/or wrongdoing.
                     19            128. Answering paragraph 128 of the Complaint, under the header “First
                     20 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     21 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     22 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     23 not have sufficient knowledge, or information or belief, to enable Defendants to
                     24 answer the allegations contained within such paragraph, as stated, and on those
                     25 grounds deny generally and specifically each and every of the allegations contained
                     26 therein. Defendants deny all liability and/or wrongdoing.
                     27            129. Answering paragraph 129 of the Complaint, under the header “First

LEWIS                28 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
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                      1 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                      2 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                      3 not have sufficient knowledge, or information or belief, to enable Defendants to
                      4 answer the allegations contained within such paragraph, as stated, and on those
                      5 grounds deny generally and specifically each and every of the allegations contained
                      6 therein. Defendants deny all liability and/or wrongdoing.
                      7            130. Answering paragraph 130 of the Complaint, under the header “First
                      8 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                      9 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     10 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     11 not have sufficient knowledge, or information or belief, to enable Defendants to
                     12 answer the allegations contained within such paragraph, as stated, and on those
                     13 grounds deny generally and specifically each and every of the allegations contained
                     14 therein. Defendants deny all liability and/or wrongdoing.
                     15            131. Answering paragraph 131 of the Complaint, under the header “First
                     16 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     17 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     18 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     19 not have sufficient knowledge, or information or belief, to enable Defendants to
                     20 answer the allegations contained within such paragraph, as stated, and on those
                     21 grounds deny generally and specifically each and every of the allegations contained
                     22 therein. Defendants deny all liability and/or wrongdoing.
                     23            132. Answering paragraph 132 of the Complaint, under the header “First
                     24 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     25 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     26 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     27 not have sufficient knowledge, or information or belief, to enable Defendants to

LEWIS                28 answer the allegations contained within such paragraph, as stated, and on those
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                      1 grounds deny generally and specifically each and every of the allegations contained
                      2 therein. Defendants deny all liability and/or wrongdoing.
                      3            133. Answering paragraph 133 of the Complaint, under the header “First
                      4 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                      5 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                      6 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                      7 not have sufficient knowledge, or information or belief, to enable Defendants to
                      8 answer the allegations contained within such paragraph, as stated, and on those
                      9 grounds deny generally and specifically each and every of the allegations contained
                     10 therein. Defendants deny all liability and/or wrongdoing.
                     11            134. Answering paragraph 134 of the Complaint, under the header “First
                     12 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     13 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     14 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     15 not have sufficient knowledge, or information or belief, to enable Defendants to
                     16 answer the allegations contained within such paragraph, as stated, and on those
                     17 grounds deny generally and specifically each and every of the allegations contained
                     18 therein. Defendants deny all liability and/or wrongdoing.
                     19            135. Answering paragraph 135 of the Complaint, under the header “First
                     20 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     21 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     22 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     23 not have sufficient knowledge, or information or belief, to enable Defendants to
                     24 answer the allegations contained within such paragraph, as stated, and on those
                     25 grounds deny generally and specifically each and every of the allegations contained
                     26 therein. Defendants deny all liability and/or wrongdoing.
                     27            136. Answering paragraph 136 of the Complaint, under the header “First

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                      1 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                      2 § 1983) ”: Defendants deny all of the allegations in this paragraph. Defendants do
                      3 not have sufficient knowledge, or information or belief, to enable Defendants to
                      4 answer the allegations contained within such paragraph, as stated, and on those
                      5 grounds deny generally and specifically each and every of the allegations contained
                      6 therein. Defendants deny all liability and/or wrongdoing.
                      7            137. Answering paragraph 137 of the Complaint, under the header “First
                      8 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                      9 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     10 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     11 not have sufficient knowledge, or information or belief, to enable Defendants to
                     12 answer the allegations contained within such paragraph, as stated, and on those
                     13 grounds deny generally and specifically each and every of the allegations contained
                     14 therein. Defendants deny all liability and/or wrongdoing.
                     15            138. Answering paragraph 138 of the Complaint, under the header “First
                     16 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     17 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     18 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     19 not have sufficient knowledge, or information or belief, to enable Defendants to
                     20 answer the allegations contained within such paragraph, as stated, and on those
                     21 grounds deny generally and specifically each and every of the allegations contained
                     22 therein. Defendants deny all liability and/or wrongdoing.
                     23            139. Answering paragraph 139 of the Complaint, under the header “First
                     24 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                     25 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     26 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     27 not have sufficient knowledge, or information or belief, to enable Defendants to

LEWIS                28 answer the allegations contained within such paragraph, as stated, and on those
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                      1 grounds deny generally and specifically each and every of the allegations contained
                      2 therein. Defendants deny all liability and/or wrongdoing.
                      3            140. Answering paragraph 140 of the Complaint, under the header “First
                      4 Cause of Action” and subheader “Failure to Protect from Harm, Violation of the
                      5 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                      6 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                      7 not have sufficient knowledge, or information or belief, to enable Defendants to
                      8 answer the allegations contained within such paragraph, as stated, and on those
                      9 grounds deny generally and specifically each and every of the allegations contained
                     10 therein. Defendants deny all liability and/or wrongdoing.
                     11            141. Answering paragraph 141 of the Complaint, under the header “Second
                     12 Cause of Action” and subheader “Failure to Provide Medical Care, Violation of the
                     13 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     14 § 1983)”: Whereby plaintiffs incorporate by reference plaintiffs’ prior and subsequent
                     15 allegations, defendants repeat, reiterate and re-allege all of the admissions and denials
                     16 contained in this Answer which are set forth to each and every allegation contained
                     17 in the paragraphs of Plaintiffs’ Complaint.
                     18            142. Answering paragraph 142 of the Complaint, under the header “Second
                     19 Cause of Action” and subheader “Failure to Provide Medical Care, Violation of the
                     20 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     21 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     22 not have sufficient knowledge, or information or belief, to enable Defendants to
                     23 answer the allegations contained within such paragraph, as stated, and on those
                     24 grounds deny generally and specifically each and every of the allegations contained
                     25 therein. Defendants deny all liability and/or wrongdoing.
                     26            143. Answering paragraph 143 of the Complaint, under the header “Second
                     27 Cause of Action” and subheader “Failure to Provide Medical Care, Violation of the

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                      1 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                      2 not have sufficient knowledge, or information or belief, to enable Defendants to
                      3 answer the allegations contained within such paragraph, as stated, and on those
                      4 grounds deny generally and specifically each and every of the allegations contained
                      5 therein. Defendants deny all liability and/or wrongdoing.
                      6            144. Answering paragraph 144 of the Complaint, under the header “Second
                      7 Cause of Action” and subheader “Failure to Provide Medical Care, Violation of the
                      8 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                      9 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     10 not have sufficient knowledge, or information or belief, to enable Defendants to
                     11 answer the allegations contained within such paragraph, as stated, and on those
                     12 grounds deny generally and specifically each and every of the allegations contained
                     13 therein. Defendants deny all liability and/or wrongdoing.
                     14            145. Answering paragraph 145 of the Complaint, under the header “Second
                     15 Cause of Action” and subheader “Failure to Provide Medical Care, Violation of the
                     16 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     17 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     18 not have sufficient knowledge, or information or belief, to enable Defendants to
                     19 answer the allegations contained within such paragraph, as stated, and on those
                     20 grounds deny generally and specifically each and every of the allegations contained
                     21 therein. Defendants deny all liability and/or wrongdoing.
                     22            146. Answering paragraph 146 of the Complaint, under the header “Second
                     23 Cause of Action” and subheader “Failure to Provide Medical Care, Violation of the
                     24 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     25 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     26 not have sufficient knowledge, or information or belief, to enable Defendants to
                     27 answer the allegations contained within such paragraph, as stated, and on those

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                      1 grounds deny generally and specifically each and every of the allegations contained
                      2 therein. Defendants deny all liability and/or wrongdoing.
                      3            147. Answering paragraph 147 of the Complaint, under the header “Second
                      4 Cause of Action” and subheader “Failure to Provide Medical Care, Violation of the
                      5 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                      6 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                      7 not have sufficient knowledge, or information or belief, to enable Defendants to
                      8 answer the allegations contained within such paragraph, as stated, and on those
                      9 grounds deny generally and specifically each and every of the allegations contained
                     10 therein. Defendants deny all liability and/or wrongdoing.
                     11            148. Answering paragraph 148 of the Complaint, under the header “Second
                     12 Cause of Action” and subheader “Failure to Provide Medical Care, Violation of the
                     13 Fourteenth Amendment to the United States Constitution (Survival Action - 42 U.S.C.
                     14 § 1983)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     15 not have sufficient knowledge, or information or belief, to enable Defendants to
                     16 answer the allegations contained within such paragraph, as stated, and on those
                     17 grounds deny generally and specifically each and every of the allegations contained
                     18 therein. Defendants deny all liability and/or wrongdoing.
                     19            149. Answering paragraph 149 of the Complaint, under the header “Third
                     20 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                     21 with Decedent, Violation of the Fourteenth Amendment to the United States
                     22 Constitution (42 U.S.C. § 1983)”: Whereby plaintiffs incorporate by reference
                     23 plaintiffs’ prior and subsequent allegations, defendants repeat, reiterate and re-allege
                     24 all of the admissions and denials contained in this Answer which are set forth to each
                     25 and every allegation contained in the paragraphs of Plaintiffs’ Complaint.
                     26            150. Answering paragraph 150 of the Complaint, under the header “Third
                     27 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship

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                      1 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                      2 paragraph. Defendants do not have sufficient knowledge, or information or belief, to
                      3 enable Defendants to answer the allegations contained within such paragraph, as
                      4 stated, and on those grounds deny generally and specifically each and every of the
                      5 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                      6            151. Answering paragraph 151 of the Complaint, under the header “Third
                      7 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                      8 with Decedent, Violation of the Fourteenth Amendment to the United States
                      9 Constitution (42 U.S.C. § 1983)”: Defendants do not have sufficient knowledge, or
                     10 information or belief, to enable Defendants to answer the allegations contained within
                     11 such paragraph, as stated, and on those grounds deny generally and specifically each
                     12 and every of the allegations contained therein. Defendants deny all liability and/or
                     13 wrongdoing.
                     14            152. Answering paragraph 152 of the Complaint, under the header “Third
                     15 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                     16 with Decedent, Violation of the Fourteenth Amendment to the United States
                     17 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                     18 paragraph. Defendants do not have sufficient knowledge, or information or belief, to
                     19 enable Defendants to answer the allegations contained within such paragraph, as
                     20 stated, and on those grounds deny generally and specifically each and every of the
                     21 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                     22            153. Answering paragraph 153 of the Complaint, under the header “Third
                     23 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                     24 with Decedent, Violation of the Fourteenth Amendment to the United States
                     25 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                     26 paragraph. Defendants do not have sufficient knowledge, or information or belief, to
                     27 enable Defendants to answer the allegations contained within such paragraph, as

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                      1 stated, and on those grounds deny generally and specifically each and every of the
                      2 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                      3            154. Answering paragraph 154 of the Complaint, under the header “Third
                      4 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                      5 with Decedent, Violation of the Fourteenth Amendment to the United States
                      6 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                      7 paragraph. Defendants do not have sufficient knowledge, or information or belief, to
                      8 enable Defendants to answer the allegations contained within such paragraph, as
                      9 stated, and on those grounds deny generally and specifically each and every of the
                     10 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                     11            155. Answering paragraph 155 of the Complaint, under the header “Third
                     12 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                     13 with Decedent, Violation of the Fourteenth Amendment to the United States
                     14 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                     15 paragraph. Defendants do not have sufficient knowledge, or information or belief, to
                     16 enable Defendants to answer the allegations contained within such paragraph, as
                     17 stated, and on those grounds deny generally and specifically each and every of the
                     18 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                     19            156. Answering paragraph 156 of the Complaint, under the header “Third
                     20 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                     21 with Decedent, Violation of the Fourteenth Amendment to the United States
                     22 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                     23 paragraph. Defendants do not have sufficient knowledge, or information or belief, to
                     24 enable Defendants to answer the allegations contained within such paragraph, as
                     25 stated, and on those grounds deny generally and specifically each and every of the
                     26 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                     27            157. Answering paragraph 157 of the Complaint, under the header “Third

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                      1 with Decedent, Violation of the Fourteenth Amendment to the United States
                      2 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                      3 paragraph. Defendants do not have sufficient knowledge, or information or belief, to
                      4 enable Defendants to answer the allegations contained within such paragraph, as
                      5 stated, and on those grounds deny generally and specifically each and every of the
                      6 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                      7            158. Answering paragraph 158 of the Complaint, under the header “Third
                      8 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                      9 with Decedent, Violation of the Fourteenth Amendment to the United States
                     10 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                     11 paragraph. Defendants do not have sufficient knowledge, or information or belief, to
                     12 enable Defendants to answer the allegations contained within such paragraph, as
                     13 stated, and on those grounds deny generally and specifically each and every of the
                     14 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                     15            159. Answering paragraph 159 of the Complaint, under the header “Third
                     16 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                     17 with Decedent, Violation of the Fourteenth Amendment to the United States
                     18 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                     19 paragraph. Defendants do not have sufficient knowledge, or information or belief, to
                     20 enable Defendants to answer the allegations contained within such paragraph, as
                     21 stated, and on those grounds deny generally and specifically each and every of the
                     22 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                     23            160. Answering paragraph 160 of the Complaint, under the header “Third
                     24 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                     25 with Decedent, Violation of the Fourteenth Amendment to the United States
                     26 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                     27 paragraph. Defendants do not have sufficient knowledge, or information or belief, to

LEWIS                28 enable Defendants to answer the allegations contained within such paragraph, as
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                      1 stated, and on those grounds deny generally and specifically each and every of the
                      2 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                      3            161. Answering paragraph 161 of the Complaint, under the header “Third
                      4 Cause of Action” and subheader “Deprivation of the Right to Familial Relationship
                      5 with Decedent, Violation of the Fourteenth Amendment to the United States
                      6 Constitution (42 U.S.C. § 1983)”: Defendants deny all of the allegations in this
                      7 paragraph. Defendants do not have sufficient knowledge, or information or belief, to
                      8 enable Defendants to answer the allegations contained within such paragraph, as
                      9 stated, and on those grounds deny generally and specifically each and every of the
                     10 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                     11            162. Answering paragraph 162 of the Complaint, under the header “Fourth
                     12 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
                     13 Constitutional Violations (Monell - 42 U.S.C. § 1983)”:                Whereby plaintiffs
                     14 incorporate by reference plaintiffs’ prior and subsequent allegations, defendants
                     15 repeat, reiterate and re-allege all of the admissions and denials contained in this
                     16 Answer which are set forth to each and every allegation contained in the paragraphs
                     17 of Plaintiffs’ Complaint.
                     18            163. Answering paragraph 163 of the Complaint, under the header “Fourth
                     19 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
                     20 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
                     21 allegations in this paragraph and its subparagraphs a) through t). Defendants do not
                     22 have sufficient knowledge, or information or belief, to enable Defendants to answer
                     23 the allegations contained within such paragraph, as stated, and on those grounds deny
                     24 generally and specifically each and every of the allegations contained therein.
                     25 Defendants deny all liability and/or wrongdoing.
                     26            164. Answering paragraph 164 of the Complaint, under the header “Fourth
                     27 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing

LEWIS                28 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
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                      1 allegations in this paragraph and its subparagraphs a) through g). Defendants do not
                      2 have sufficient knowledge, or information or belief, to enable Defendants to answer
                      3 the allegations contained within such paragraph, as stated, and on those grounds deny
                      4 generally and specifically each and every of the allegations contained therein.
                      5 Defendants deny all liability and/or wrongdoing.
                      6            165. Answering paragraph 165 of the Complaint, under the header “Fourth
                      7 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
                      8 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
                      9 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                     10 information or belief, to enable Defendants to answer the allegations contained within
                     11 such paragraph, as stated, and on those grounds deny generally and specifically each
                     12 and every of the allegations contained therein. Defendants deny all liability and/or
                     13 wrongdoing.
                     14            166. Answering paragraph 166 of the Complaint, under the header “Fourth
                     15 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
                     16 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
                     17 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                     18 information or belief, to enable Defendants to answer the allegations contained within
                     19 such paragraph, as stated, and on those grounds deny generally and specifically each
                     20 and every of the allegations contained therein. Defendants deny all liability and/or
                     21 wrongdoing.
                     22            167. Answering paragraph 167 of the Complaint, under the header “Fourth
                     23 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
                     24 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
                     25 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                     26 information or belief, to enable Defendants to answer the allegations contained within
                     27 such paragraph, as stated, and on those grounds deny generally and specifically each

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                      1 and every of the allegations contained therein. Defendants deny all liability and/or
                      2 wrongdoing.
                      3            168. Answering paragraph 168 of the Complaint, under the header “Fourth
                      4 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
                      5 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
                      6 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                      7 information or belief, to enable Defendants to answer the allegations contained within
                      8 such paragraph, as stated, and on those grounds deny generally and specifically each
                      9 and every of the allegations contained therein. Defendants deny all liability and/or
                     10 wrongdoing.
                     11            169. Answering paragraph 169 of the Complaint, under the header “Fourth
                     12 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
                     13 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
                     14 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                     15 information or belief, to enable Defendants to answer the allegations contained within
                     16 such paragraph, as stated, and on those grounds deny generally and specifically each
                     17 and every of the allegations contained therein. Defendants deny all liability and/or
                     18 wrongdoing.
                     19            170. Answering paragraph 170 of the Complaint, under the header “Fourth
                     20 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
                     21 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
                     22 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                     23 information or belief, to enable Defendants to answer the allegations contained within
                     24 such paragraph, as stated, and on those grounds deny generally and specifically each
                     25 and every of the allegations contained therein. Defendants deny all liability and/or
                     26 wrongdoing.
                     27            171. Answering paragraph 171 of the Complaint, under the header “Fourth

LEWIS                28 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
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                      1 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
                      2 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                      3 information or belief, to enable Defendants to answer the allegations contained within
                      4 such paragraph, as stated, and on those grounds deny generally and specifically each
                      5 and every of the allegations contained therein. Defendants deny all liability and/or
                      6 wrongdoing.
                      7            172. Answering paragraph 172 of the Complaint, under the header “Fourth
                      8 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
                      9 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
                     10 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                     11 information or belief, to enable Defendants to answer the allegations contained within
                     12 such paragraph, as stated, and on those grounds deny generally and specifically each
                     13 and every of the allegations contained therein. Defendants deny all liability and/or
                     14 wrongdoing.
                     15            173. Answering paragraph 173 of the Complaint, under the header “Fourth
                     16 Cause of Action” and subheader “Municipal Policies, Customs, Practices Causing
                     17 Constitutional Violations (Monell - 42 U.S.C. § 1983)”: Defendants deny all of the
                     18 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                     19 information or belief, to enable Defendants to answer the allegations contained within
                     20 such paragraph, as stated, and on those grounds deny generally and specifically each
                     21 and every of the allegations contained therein. Defendants deny all liability and/or
                     22 wrongdoing.
                     23            174. Answering paragraph 174 of the Complaint, under the header “Fourth1
                     24 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                     25 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                     26 Whereby plaintiffs incorporate by reference plaintiffs’ prior and subsequent
                     27
                          1
                     28            The Complaint mislabels the fifth cause of action as the fourth.
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                      1 allegations, defendants repeat, reiterate and re-allege all of the admissions and denials
                      2 contained in this Answer which are set forth to each and every allegation contained
                      3 in the paragraphs of Plaintiffs’ Complaint.
                      4            175. Answering paragraph 175 of the Complaint, under the header “Fourth
                      5 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                      6 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                      7 Defendants deny all of the allegations in this paragraph. Defendants do not have
                      8 sufficient knowledge, or information or belief, to enable Defendants to answer the
                      9 allegations contained within such paragraph, as stated, and on those grounds deny
                     10 generally and specifically each and every of the allegations contained therein.
                     11 Defendants deny all liability and/or wrongdoing.
                     12            176. Answering paragraph 176 of the Complaint, under the header “Fourth
                     13 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                     14 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                     15 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     16 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     17 allegations contained within such paragraph, as stated, and on those grounds deny
                     18 generally and specifically each and every of the allegations contained therein.
                     19 Defendants deny all liability and/or wrongdoing.
                     20            177. Answering paragraph 177 of the Complaint, under the header “Fourth
                     21 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                     22 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                     23 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     24 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     25 allegations contained within such paragraph, as stated, and on those grounds deny
                     26 generally and specifically each and every of the allegations contained therein.
                     27 Defendants deny all liability and/or wrongdoing.

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                      1            178. Answering paragraph 178 of the Complaint, under the header “Fourth
                      2 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                      3 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                      4 Defendants deny all of the allegations in this paragraph. Defendants do not have
                      5 sufficient knowledge, or information or belief, to enable Defendants to answer the
                      6 allegations contained within such paragraph, as stated, and on those grounds deny
                      7 generally and specifically each and every of the allegations contained therein.
                      8 Defendants deny all liability and/or wrongdoing.
                      9            179. Answering paragraph 179 of the Complaint, under the header “Fourth
                     10 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                     11 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                     12 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     13 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     14 allegations contained within such paragraph, as stated, and on those grounds deny
                     15 generally and specifically each and every of the allegations contained therein.
                     16 Defendants deny all liability and/or wrongdoing.
                     17            180. Answering paragraph 180 of the Complaint, under the header “Fourth
                     18 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                     19 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                     20 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     21 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     22 allegations contained within such paragraph, as stated, and on those grounds deny
                     23 generally and specifically each and every of the allegations contained therein.
                     24 Defendants deny all liability and/or wrongdoing.
                     25            181. Answering paragraph 181 of the Complaint, under the header “Fourth
                     26 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                     27 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:

LEWIS                28 Defendants deny all of the allegations in this paragraph and its subparagraphs a)
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                      1 through d). Defendants do not have sufficient knowledge, or information or belief, to
                      2 enable Defendants to answer the allegations contained within such paragraph, as
                      3 stated, and on those grounds deny generally and specifically each and every of the
                      4 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                      5            182. Answering paragraph 182 of the Complaint, under the header “Fourth
                      6 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                      7 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                      8 Defendants deny all of the allegations in this paragraph. Defendants do not have
                      9 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     10 allegations contained within such paragraph, as stated, and on those grounds deny
                     11 generally and specifically each and every of the allegations contained therein.
                     12 Defendants deny all liability and/or wrongdoing.
                     13            183. Answering paragraph 183 of the Complaint, under the header “Fourth
                     14 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                     15 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                     16 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     17 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     18 allegations contained within such paragraph, as stated, and on those grounds deny
                     19 generally and specifically each and every of the allegations contained therein.
                     20 Defendants deny all liability and/or wrongdoing.
                     21            184. Answering paragraph 184 of the Complaint, under the header “Fourth
                     22 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                     23 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                     24 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     25 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     26 allegations contained within such paragraph, as stated, and on those grounds deny
                     27 generally and specifically each and every of the allegations contained therein.

LEWIS                28 Defendants deny all liability and/or wrongdoing.
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                      1            185. Answering paragraph 185 of the Complaint, under the header “Fourth
                      2 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                      3 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                      4 Defendants deny all of the allegations in this paragraph. Defendants do not have
                      5 sufficient knowledge, or information or belief, to enable Defendants to answer the
                      6 allegations contained within such paragraph, as stated, and on those grounds deny
                      7 generally and specifically each and every of the allegations contained therein.
                      8 Defendants deny all liability and/or wrongdoing.
                      9            186. Answering paragraph 186 of the Complaint, under the header “Fourth
                     10 Cause of Action” and subheader “Supervisory Liability Causing Constitutional
                     11 Violations (Failure to Properly Train, Supervise and Discipline, 42 U.S.C. § 1983)”:
                     12 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     13 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     14 allegations contained within such paragraph, as stated, and on those grounds deny
                     15 generally and specifically each and every of the allegations contained therein.
                     16 Defendants deny all liability and/or wrongdoing.
                     17            187. Answering paragraph 187 of the Complaint, under the header “Sixth
                     18 Cause of Action” and subheader “Negligence – Wrongful Death”: Whereby plaintiffs
                     19 incorporate by reference plaintiffs’ prior and subsequent allegations, defendants
                     20 repeat, reiterate and re-allege all of the admissions and denials contained in this
                     21 Answer which are set forth to each and every allegation contained in the paragraphs
                     22 of Plaintiffs’ Complaint.
                     23            188. Answering paragraph 188 of the Complaint, under the header “Sixth
                     24 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                     25 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                     26 or information or belief, to enable Defendants to answer the allegations contained
                     27 within such paragraph, as stated, and on those grounds deny generally and specifically

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                      1 each and every of the allegations contained therein. Defendants deny all liability
                      2 and/or wrongdoing.
                      3            189. Answering paragraph 189 of the Complaint, under the header “Sixth
                      4 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                      5 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                      6 or information or belief, to enable Defendants to answer the allegations contained
                      7 within such paragraph, as stated, and on those grounds deny generally and specifically
                      8 each and every of the allegations contained therein. Defendants deny all liability
                      9 and/or wrongdoing.
                     10            190. Answering paragraph 190 of the Complaint, under the header “Sixth
                     11 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                     12 all of the allegations in this paragraph and its subparagraphs a) through i). Defendants
                     13 do not have sufficient knowledge, or information or belief, to enable Defendants to
                     14 answer the allegations contained within such paragraph, as stated, and on those
                     15 grounds deny generally and specifically each and every of the allegations contained
                     16 therein. Defendants deny all liability and/or wrongdoing.
                     17            191. Answering paragraph 191 of the Complaint, under the header “Sixth
                     18 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                     19 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                     20 or information or belief, to enable Defendants to answer the allegations contained
                     21 within such paragraph, as stated, and on those grounds deny generally and specifically
                     22 each and every of the allegations contained therein. Defendants deny all liability
                     23 and/or wrongdoing.
                     24            192. Answering paragraph 192 of the Complaint, under the header “Sixth
                     25 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                     26 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                     27 or information or belief, to enable Defendants to answer the allegations contained

LEWIS                28 within such paragraph, as stated, and on those grounds deny generally and specifically
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                      1 each and every of the allegations contained therein. Defendants deny all liability
                      2 and/or wrongdoing.
                      3            193. Answering paragraph 193 of the Complaint, under the header “Sixth
                      4 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                      5 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                      6 or information or belief, to enable Defendants to answer the allegations contained
                      7 within such paragraph, as stated, and on those grounds deny generally and specifically
                      8 each and every of the allegations contained therein. Defendants deny all liability
                      9 and/or wrongdoing.
                     10            194. Answering paragraph 194 of the Complaint, under the header “Sixth
                     11 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                     12 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                     13 or information or belief, to enable Defendants to answer the allegations contained
                     14 within such paragraph, as stated, and on those grounds deny generally and specifically
                     15 each and every of the allegations contained therein. Defendants deny all liability
                     16 and/or wrongdoing.
                     17            195. Answering paragraph 195 of the Complaint, under the header “Sixth
                     18 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                     19 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                     20 or information or belief, to enable Defendants to answer the allegations contained
                     21 within such paragraph, as stated, and on those grounds deny generally and specifically
                     22 each and every of the allegations contained therein. Defendants deny all liability
                     23 and/or wrongdoing.
                     24            196. Answering paragraph 196 of the Complaint, under the header “Sixth
                     25 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                     26 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                     27 or information or belief, to enable Defendants to answer the allegations contained

LEWIS                28 within such paragraph, as stated, and on those grounds deny generally and specifically
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                      1 each and every of the allegations contained therein. Defendants deny all liability
                      2 and/or wrongdoing.
                      3            197. Answering paragraph 197 of the Complaint, under the header “Sixth
                      4 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                      5 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                      6 or information or belief, to enable Defendants to answer the allegations contained
                      7 within such paragraph, as stated, and on those grounds deny generally and specifically
                      8 each and every of the allegations contained therein. Defendants deny all liability
                      9 and/or wrongdoing.
                     10            198. Answering paragraph 198 of the Complaint, under the header “Sixth
                     11 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                     12 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                     13 or information or belief, to enable Defendants to answer the allegations contained
                     14 within such paragraph, as stated, and on those grounds deny generally and specifically
                     15 each and every of the allegations contained therein. Defendants deny all liability
                     16 and/or wrongdoing.
                     17            199. Answering paragraph 199 of the Complaint, under the header “Sixth
                     18 Cause of Action” and subheader “Negligence – Wrongful Death”: Defendants deny
                     19 all of the allegations in this paragraph. Defendants do not have sufficient knowledge,
                     20 or information or belief, to enable Defendants to answer the allegations contained
                     21 within such paragraph, as stated, and on those grounds deny generally and specifically
                     22 each and every of the allegations contained therein. Defendants deny all liability
                     23 and/or wrongdoing.
                     24            200. Answering paragraph 200 of the Complaint, under the header “Seventh
                     25 Cause of Action” and subheader “Negligence – Medical Malpractice”: Whereby
                     26 plaintiffs incorporate by reference plaintiffs’ prior and subsequent allegations,
                     27 defendants repeat, reiterate and re-allege all of the admissions and denials contained

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                      1 in this Answer which are set forth to each and every allegation contained in the
                      2 paragraphs of Plaintiffs’ Complaint.
                      3            201. Answering paragraph 201 of the Complaint, under the header “Seventh
                      4 Cause of Action” and subheader “Negligence – Medical Malpractice”: Defendants
                      5 deny all of the allegations in this paragraph. Defendants do not have sufficient
                      6 knowledge, or information or belief, to enable Defendants to answer the allegations
                      7 contained within such paragraph, as stated, and on those grounds deny generally and
                      8 specifically each and every of the allegations contained therein. Defendants deny all
                      9 liability and/or wrongdoing.
                     10            202. Answering paragraph 202 of the Complaint, under the header “Seventh
                     11 Cause of Action” and subheader “Negligence – Medical Malpractice”: Defendants
                     12 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     13 knowledge, or information or belief, to enable Defendants to answer the allegations
                     14 contained within such paragraph, as stated, and on those grounds deny generally and
                     15 specifically each and every of the allegations contained therein. Defendants deny all
                     16 liability and/or wrongdoing.
                     17            203. Answering paragraph 203 of the Complaint, under the header “Seventh
                     18 Cause of Action” and subheader “Negligence – Medical Malpractice”: Defendants
                     19 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     20 knowledge, or information or belief, to enable Defendants to answer the allegations
                     21 contained within such paragraph, as stated, and on those grounds deny generally and
                     22 specifically each and every of the allegations contained therein. Defendants deny all
                     23 liability and/or wrongdoing.
                     24            204. Answering paragraph 204 of the Complaint, under the header “Seventh
                     25 Cause of Action” and subheader “Negligence – Medical Malpractice”: Defendants
                     26 deny all of the allegations in this paragraph. Defendants do not have sufficient
                     27 knowledge, or information or belief, to enable Defendants to answer the allegations

LEWIS                28 contained within such paragraph, as stated, and on those grounds deny generally and
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                      1 specifically each and every of the allegations contained therein. Defendants deny all
                      2 liability and/or wrongdoing.
                      3            205. Answering paragraph 205 of the Complaint, under the header “Eighth
                      4 Cause of Action” and subheader “Violation of California Government Code § 845.6”:
                      5 Whereby plaintiffs incorporate by reference plaintiffs’ prior and subsequent
                      6 allegations, defendants repeat, reiterate and re-allege all of the admissions and denials
                      7 contained in this Answer which are set forth to each and every allegation contained
                      8 in the paragraphs of Plaintiffs’ Complaint.
                      9            206. Answering paragraph 206 of the Complaint, under the header “Eighth
                     10 Cause of Action” and subheader “Violation of California Government Code § 845.6”:
                     11 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     12 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     13 allegations contained within such paragraph, as stated, and on those grounds deny
                     14 generally and specifically each and every of the allegations contained therein.
                     15 Defendants deny all liability and/or wrongdoing.
                     16            207. Answering paragraph 207 of the Complaint, under the header “Eighth
                     17 Cause of Action” and subheader “Violation of California Government Code § 845.6”:
                     18 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     19 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     20 allegations contained within such paragraph, as stated, and on those grounds deny
                     21 generally and specifically each and every of the allegations contained therein.
                     22 Defendants deny all liability and/or wrongdoing.
                     23            208. Answering paragraph 208 of the Complaint, under the header “Eighth
                     24 Cause of Action” and subheader “Violation of California Government Code § 845.6”:
                     25 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     26 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     27 allegations contained within such paragraph, as stated, and on those grounds deny

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                      1 generally and specifically each and every of the allegations contained therein.
                      2 Defendants deny all liability and/or wrongdoing.
                      3            209. Answering paragraph 209 of the Complaint, under the header “Ninth
                      4 Cause of Action” and subheader “Violation of California Civil Code § 52.1 (Tom
                      5 Bane Act)”:        Whereby plaintiffs incorporate by reference plaintiffs’ prior and
                      6 subsequent allegations, defendants repeat, reiterate and re-allege all of the admissions
                      7 and denials contained in this Answer which are set forth to each and every allegation
                      8 contained in the paragraphs of Plaintiffs’ Complaint.
                      9            210. Answering paragraph 210 of the Complaint, under the header “Ninth
                     10 Cause of Action” and subheader “Violation of California Civil Code § 52.1 (Tom
                     11 Bane Act)”: Defendants do not have sufficient knowledge, or information or belief,
                     12 to enable Defendants to answer the allegations contained within such paragraph, as
                     13 stated, and on those grounds deny generally and specifically each and every of the
                     14 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                     15            211. Answering paragraph 211 of the Complaint, under the header “Ninth
                     16 Cause of Action” and subheader “Violation of California Civil Code § 52.1 (Tom
                     17 Bane Act)”:       Defendants deny all of the allegations in this paragraph and its
                     18 subparagraphs a) through d). Defendants do not have sufficient knowledge, or
                     19 information or belief, to enable Defendants to answer the allegations contained within
                     20 such paragraph, as stated, and on those grounds deny generally and specifically each
                     21 and every of the allegations contained therein. Defendants deny all liability and/or
                     22 wrongdoing.
                     23            212. Answering paragraph 212 of the Complaint, under the header “Ninth
                     24 Cause of Action” and subheader “Violation of California Civil Code § 52.1 (Tom
                     25 Bane Act)”:       Defendants deny all of the allegations in this paragraph and its
                     26 subparagraphs a) through i). Defendants do not have sufficient knowledge, or
                     27 information or belief, to enable Defendants to answer the allegations contained within

LEWIS                28 such paragraph, as stated, and on those grounds deny generally and specifically each
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                      1 and every of the allegations contained therein. Defendants deny all liability and/or
                      2 wrongdoing.
                      3            213. Answering paragraph 213 of the Complaint, under the header “Ninth
                      4 Cause of Action” and subheader “Violation of California Civil Code § 52.1 (Tom
                      5 Bane Act)”: Defendants deny all of the allegations in this paragraph. Defendants do
                      6 not have sufficient knowledge, or information or belief, to enable Defendants to
                      7 answer the allegations contained within such paragraph, as stated, and on those
                      8 grounds deny generally and specifically each and every of the allegations contained
                      9 therein. Defendants deny all liability and/or wrongdoing.
                     10            214. Answering paragraph 214 of the Complaint, under the header “Ninth
                     11 Cause of Action” and subheader “Violation of California Civil Code § 52.1 (Tom
                     12 Bane Act)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     13 not have sufficient knowledge, or information or belief, to enable Defendants to
                     14 answer the allegations contained within such paragraph, as stated, and on those
                     15 grounds deny generally and specifically each and every of the allegations contained
                     16 therein. Defendants deny all liability and/or wrongdoing.
                     17            215. Answering paragraph 215 of the Complaint, under the header “Ninth
                     18 Cause of Action” and subheader “Violation of California Civil Code § 52.1 (Tom
                     19 Bane Act)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     20 not have sufficient knowledge, or information or belief, to enable Defendants to
                     21 answer the allegations contained within such paragraph, as stated, and on those
                     22 grounds deny generally and specifically each and every of the allegations contained
                     23 therein. Defendants deny all liability and/or wrongdoing.
                     24            216. Answering paragraph 216 of the Complaint, under the header “Ninth
                     25 Cause of Action” and subheader “Violation of California Civil Code § 52.1 (Tom
                     26 Bane Act)”: Defendants deny all of the allegations in this paragraph. Defendants do
                     27 not have sufficient knowledge, or information or belief, to enable Defendants to

LEWIS                28 answer the allegations contained within such paragraph, as stated, and on those
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                      1 grounds deny generally and specifically each and every of the allegations contained
                      2 therein. Defendants deny all liability and/or wrongdoing.
                      3            217. Answering paragraph 217 of the Complaint, under the header “Ninth
                      4 Cause of Action” and subheader “Violation of California Civil Code § 52.1 (Tom
                      5 Bane Act)”: Defendants deny all of the allegations in this paragraph. Defendants do
                      6 not have sufficient knowledge, or information or belief, to enable Defendants to
                      7 answer the allegations contained within such paragraph, as stated, and on those
                      8 grounds deny generally and specifically each and every of the allegations contained
                      9 therein. Defendants deny all liability and/or wrongdoing.
                     10            218. Answering paragraph 218 of the Complaint, under the header “Tenth
                     11 Cause of Action” and subheader “Intentional Infliction of Emotional Distress”:
                     12 Whereby plaintiffs incorporate by reference plaintiffs’ prior and subsequent
                     13 allegations, defendants repeat, reiterate and re-allege all of the admissions and denials
                     14 contained in this Answer which are set forth to each and every allegation contained
                     15 in the paragraphs of Plaintiffs’ Complaint.
                     16            219. Answering paragraph 219 of the Complaint, under the header “Tenth
                     17 Cause of Action” and subheader “Intentional Infliction of Emotional Distress”:
                     18 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     19 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     20 allegations contained within such paragraph, as stated, and on those grounds deny
                     21 generally and specifically each and every of the allegations contained therein.
                     22 Defendants deny all liability and/or wrongdoing.
                     23            220. Answering paragraph 220 of the Complaint, under the header “Tenth
                     24 Cause of Action” and subheader “Intentional Infliction of Emotional Distress”:
                     25 Defendants deny all of the allegations in this paragraph and its subparagraphs a)
                     26 through d). Defendants do not have sufficient knowledge, or information or belief, to
                     27 enable Defendants to answer the allegations contained within such paragraph, as

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                      1 stated, and on those grounds deny generally and specifically each and every of the
                      2 allegations contained therein. Defendants deny all liability and/or wrongdoing.
                      3            221. Answering paragraph 221 of the Complaint, under the header “Tenth
                      4 Cause of Action” and subheader “Intentional Infliction of Emotional Distress”:
                      5 Defendants deny all of the allegations in this paragraph. Defendants do not have
                      6 sufficient knowledge, or information or belief, to enable Defendants to answer the
                      7 allegations contained within such paragraph, as stated, and on those grounds deny
                      8 generally and specifically each and every of the allegations contained therein.
                      9 Defendants deny all liability and/or wrongdoing.
                     10            222. Answering paragraph 222 of the Complaint, under the header “Tenth
                     11 Cause of Action” and subheader “Intentional Infliction of Emotional Distress”:
                     12 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     13 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     14 allegations contained within such paragraph, as stated, and on those grounds deny
                     15 generally and specifically each and every of the allegations contained therein.
                     16 Defendants deny all liability and/or wrongdoing.
                     17            223. Answering paragraph 223 of the Complaint, under the header “Tenth
                     18 Cause of Action” and subheader “Intentional Infliction of Emotional Distress”:
                     19 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     20 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     21 allegations contained within such paragraph, as stated, and on those grounds deny
                     22 generally and specifically each and every of the allegations contained therein.
                     23 Defendants deny all liability and/or wrongdoing.
                     24            224. Answering paragraph 224 of the Complaint, under the header “Tenth
                     25 Cause of Action” and subheader “Intentional Infliction of Emotional Distress”:
                     26 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     27 sufficient knowledge, or information or belief, to enable Defendants to answer the

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                      1 generally and specifically each and every of the allegations contained therein.
                      2 Defendants deny all liability and/or wrongdoing.
                      3            225. Answering paragraph 225 of the Complaint, under the header “Tenth
                      4 Cause of Action” and subheader “Intentional Infliction of Emotional Distress”:
                      5 Defendants deny all of the allegations in this paragraph. Defendants do not have
                      6 sufficient knowledge, or information or belief, to enable Defendants to answer the
                      7 allegations contained within such paragraph, as stated, and on those grounds deny
                      8 generally and specifically each and every of the allegations contained therein.
                      9 Defendants deny all liability and/or wrongdoing.
                     10            226. Answering paragraph 226 of the Complaint, under the header “Tenth
                     11 Cause of Action” and subheader “Intentional Infliction of Emotional Distress”:
                     12 Defendants deny all of the allegations in this paragraph. Defendants do not have
                     13 sufficient knowledge, or information or belief, to enable Defendants to answer the
                     14 allegations contained within such paragraph, as stated, and on those grounds deny
                     15 generally and specifically each and every of the allegations contained therein.
                     16 Defendants deny all liability and/or wrongdoing.
                     17            227. Answering paragraph 227 of the Complaint, under the header “Eleventh
                     18 Cause of Action” and subheader “Declaratory Relief”:                  Whereby plaintiffs
                     19 incorporate by reference plaintiffs’ prior and subsequent allegations, defendants
                     20 repeat, reiterate and re-allege all of the admissions and denials contained in this
                     21 Answer which are set forth to each and every allegation contained in the paragraphs
                     22 of Plaintiffs’ Complaint.
                     23            228. Answering paragraph 228 of the Complaint, under the header “Eleventh
                     24 Cause of Action” and subheader “Declaratory Relief”: Defendants deny all of the
                     25 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                     26 information or belief, to enable Defendants to answer the allegations contained within
                     27 such paragraph, as stated, and on those grounds deny generally and specifically each

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                      1 and every of the allegations contained therein. Defendants deny all liability and/or
                      2 wrongdoing.
                      3            229. Answering paragraph 229 of the Complaint, under the header “Eleventh
                      4 Cause of Action” and subheader “Declaratory Relief”: Defendants deny all of the
                      5 allegations in this paragraph. Defendants do not have sufficient knowledge, or
                      6 information or belief, to enable Defendants to answer the allegations contained within
                      7 such paragraph, as stated, and on those grounds deny generally and specifically each
                      8 and every of the allegations contained therein. Defendants deny all liability and/or
                      9 wrongdoing.
                     10            230. Answering paragraph 230 of the Complaint, under the header “Twelfth
                     11 Cause of Action” and subheader “Battery”:            Whereby plaintiffs incorporate by
                     12 reference plaintiffs’ prior and subsequent allegations, defendants repeat, reiterate and
                     13 re-allege all of the admissions and denials contained in this Answer which are set
                     14 forth to each and every allegation contained in the paragraphs of Plaintiffs’
                     15 Complaint.
                     16            231. Answering paragraph 231 of the Complaint, under the header “Twelfth
                     17 Cause of Action” and subheader “Battery”: Defendants deny all of the allegations in
                     18 this paragraph. Defendants do not have sufficient knowledge, or information or
                     19 belief, to enable Defendants to answer the allegations contained within such
                     20 paragraph, as stated, and on those grounds deny generally and specifically each and
                     21 every of the allegations contained therein. Defendants deny all liability and/or
                     22 wrongdoing.
                     23            232. Answering paragraph 232 of the Complaint, under the header “Twelfth
                     24 Cause of Action” and subheader “Battery”: Defendants deny all of the allegations in
                     25 this paragraph. Defendants do not have sufficient knowledge, or information or
                     26 belief, to enable Defendants to answer the allegations contained within such
                     27 paragraph, as stated, and on those grounds deny generally and specifically each and

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                      1 every of the allegations contained therein. Defendants deny all liability and/or
                      2 wrongdoing.
                      3            233. Answering Plaintiffs’ Prayer for relief, Defendants deny all liability to
                      4 Plaintiffs, including, but not limited to, all liability for any and all damages, including,
                      5 but not limited to, compensatory damages; statutory damages; attorneys’ fees; costs
                      6 of any kind; punitive and exemplary damages against Defendants; and/or for any
                      7 relief of any kind from Defendants to Plaintiffs.
                      8            234. To the extent Plaintiffs assert any other claims or contentions not
                      9 specifically addressed herein above, Defendants generally and specifically deny each
                     10 and every remaining allegation and/or claim.
                     11                                AFFIRMATIVE DEFENSES
                     12            235. As separate and affirmative defenses, Defendants allege as follows2:
                     13                             FIRST AFFIRMATIVE DEFENSE
                     14                       (Failure to State Claim, Statute of Limitations)
                     15            236. Plaintiffs’ Complaint fails to state a claim upon which relief can be
                     16 granted.
                     17            237. Plaintiffs’ Complaint also fails to state a claim against any defendant in
                     18 this action.
                     19            238. Plaintiffs’ claims are time-barred by the operative statutes of limitations
                     20 (including, but not limited to, Cal. Code Civ. Proc. § 335.1).
                     21                           SECOND AFFIRMATIVE DEFENSE
                     22                                 (Tort Claims Act Violation)
                     23            239. This action is barred by the Plaintiffs’ failure to comply with the
                     24 government tort claims presentation requirements, California Government Code §
                     25
                     26
                     27   2
                         For purposes of affirmative defenses, affirmative defenses that reference “Plaintiffs”
LEWIS                28 shall also be construed to apply, wherever feasible, to Plaintiffs’ decedent.
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                      1 900, et seq., including but not limited to §§ 900, 900.4, 901, 905, 905.2, 910, 911,
                      2 911.2, 911.4, 945.4, 945.6, 946.6, 950.2, and 950.6, to the extent applicable.
                      3            240. The Complaint is barred based on Plaintiffs’ failure to exhaust
                      4 administrative remedies prior to filing this lawsuit.
                      5                               THIRD AFFIRMATIVE DEFENSE
                      6                               (Waiver, Estoppel, Unclean Hands)
                      7            241. Defendants allege that Plaintiffs’ action is barred by reason of conduct,
                      8 actions, and inactions of Plaintiffs which amount to and constitute a waiver of any
                      9 right Plaintiffs may or might have had in reference to the matters and things alleged
                     10 in the Complaint, or that otherwise estop Plaintiffs from recovery in this action,
                     11 including, but not limited to, the doctrine of unclean hands.
                     12                           FOURTH AFFIRMATIVE DEFENSE
                     13                                 (Failure to Mitigate Damages)
                     14            242. Plaintiffs’ claims are barred or limited to the extent Plaintiffs failed to
                     15 mitigate Plaintiffs’ injuries or damages, if there were any. Plaintiffs failed to mitigate
                     16 the damages, if any, which Plaintiffs have sustained, and to exercise reasonable care
                     17 to avoid the consequences of harms, if any, in that, among other things, Plaintiffs
                     18 failed to use reasonable diligence in caring for any injuries, failed to use reasonable
                     19 means to prevent aggravation of any injuries, and failed to take reasonable precautions
                     20 to reduce any injuries and damages.
                     21                               FIFTH AFFIRMATIVE DEFENSE
                     22                        (Contributory and/or Comparative Liability)
                     23            243. Plaintiffs’     claims   are    barred    or    limited     by    Plaintiffs’
                     24 contributory/comparative negligence or other conduct, acts, or omissions, and to the
                     25 extent any Plaintiffs suffered any injury or damages, it was the result of Plaintiffs’
                     26 own negligent or deliberate actions or omissions.
                     27            244. Plaintiffs’ recovery is barred because any injury or damage suffered by

LEWIS                28 Plaintiffs was caused solely by reason of the Plaintiffs’ wrongful acts and conduct and
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                      1 the willful resistance to a peace officer in the discharge of their duties. The conduct
                      2 set forth in the Complaint, if and to the extent it occurred, was privileged and justified
                      3 and done with a good faith belief that it was correct and no action may be taken against
                      4 the answering Defendants on account of such conduct.
                      5                            SIXTH AFFIRMATIVE DEFENSE
                      6                   (Public Entity/Employee Immunity for Others’ Torts)
                      7            245. Plaintiffs’ recovery is barred because public entities and employees are
                      8 immune from liability for any injury caused by the act or omission of another person.
                      9 Cal. Gov. Code §§ 815 et seq., 820.2 et seq.
                     10            246. The answering Defendants are informed and believe and thereon allege
                     11 that if Plaintiffs sustained any injury or damages, such injury or damages were solely
                     12 caused or contributed to by the wrongful conduct of other entities or persons other
                     13 than the answering Defendants. To the extent that Plaintiffs’ damages were so caused,
                     14 any recovery by Plaintiffs as against the answering defendants should be subject to
                     15 proportionately comparative equitable indemnity/contribution from such third parties.
                     16                          SEVENTH AFFIRMATIVE DEFENSE
                     17                 (Public Entity/Employee Immunity for Discretionary Acts)
                     18            247. There is no liability for any injury or damages, if there were any,
                     19 resulting from an exercise of discretion vested in a public employee, whether or not
                     20 such discretion was abused. Cal. Gov. Code § 815.2, 820.2, 820.4, 820.8, 820 et seq.
                     21            248. Plaintiffs’ recovery is barred because public entities and employees are
                     22 immune from liability for discharging their mandatory duties with reasonable
                     23 diligence.
                     24            249. A public employee may not be held liable for injuries or damages, if any,
                     25 caused by failure to adopt or by adoption of an enactment or by failure to enforce an
                     26 enactment and/or law, for an injury caused by their issuance, denial, suspension or
                     27 revocation or by their failure or refusal to issue, denies, suspend or revoke, any permit,

LEWIS                28 license, certificate, approval, order, or similar authorization, where they are
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                      1 authorized by enactment to determine whether or not such authorization should be
                      2 issued, denied, suspended or revoked, pursuant to Cal. Gov. Code §§ 818.2, 818.4,
                      3 818.8, 821, and 821.2. Based thereon, answering Defendants are immune from
                      4 liability for any injuries claimed by Plaintiffs, herein.
                      5            250. The answering Defendants are immune for any detriment resulting from
                      6 any of their actions or omissions at the time of the incident of which Plaintiffs
                      7 complain pursuant to Cal. Gov. Code §§ 810 et seq., 815 et seq., 820 et seq., and 845
                      8 et seq., including, but not limited to, Cal. Gov. Code §§ 810, 810.2, 810.4, 810.6,
                      9 810.8, 811, 811.2, 811.4, 811.6, 811.8, 820.6, 820.8, 821, 821.2, 821.4, 821.6, 821.8,
                     10 822.2, 830.5, 830.6, 835.4, 844.6, and Cal. Gov. Code §§ 854, et seq., including, but
                     11 not limited to, §§ 845.6, 854.6, 854.8(a)(2), and §§ 855.4, 855.6, 855.8 and 856.4.
                     12                           EIGHTH AFFIRMATIVE DEFENSE
                     13                                  (Public Entity Immunity)
                     14            251. To the extent that the Complaint attempts to predicate liability upon the
                     15 answering public entity Defendant or any employees thereof for purported negligence
                     16 in retention, hiring, employment, training, or supervision of any public employee,
                     17 such liability is barred by Cal. Gov. Code §§ 815.2 and 820.2 and Herndon v. Cnty.
                     18 of Marin, 25 Cal. App. 3d 933, 935, 936 (1972), rev’d on other grounds by Sullivan
                     19 v. County of Los Angeles, 12 Cal.3d 710 (1974); and by the lack of any duty running
                     20 to any Plaintiffs; by the fact that any such purported act or omission is governed
                     21 exclusively by statute and is outside the purview of any public employees’ authority;
                     22 and by the failure of any such acts or omissions to be the proximate or legal cause of
                     23 any injury alleged in the Complaint. See de Villers v. Cnty. of San Diego, 156
                     24 Cal.App.4th 238, 251-253, 255-256 (2007).
                     25            252. These Defendants may not be held liable on a respondeat superior theory
                     26 for any negligent or wrongful act or omission on the part of any subordinate. Cal.
                     27 Gov. Code §§ 844.6, 845.6; Cal. Civ. Code § 2351; Malloy v. Fong, 37 Cal.2d 356,

LEWIS                28 378-379(1951); Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978); Larez v. City of
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                      1 Los Angeles, 946 F.2d 630, 645-646 (9th Cir. 1991); cf. City of Canton v. Harris, 489
                      2 U.S. 378, 388-389 (1989); City of Los Angeles v. Heller, 475 U.S. 796 (1986).
                      3                            NINTH AFFIRMATIVE DEFENSE
                      4                       (Qualified Immunity & Good Faith Immunity)
                      5            253. Defendant and its agents or officers at all times relevant to this action
                      6 acted reasonably and prudently under the circumstances. Defendant therefore asserts
                      7 any individual defendants’ (that may be named by Plaintiffs) Qualified Immunity
                      8 from liability to the fullest extent applicable.
                      9            254. Defendants are immune from liability under the Federal Civil Rights Act
                     10 because they acted in good faith with an honest and reasonable belief that their actions
                     11 were necessary and appropriate. Defendants are immune from liability under the
                     12 Federal Civil Rights Act because a reasonable police officer could believe that their
                     13 acts and conduct were appropriate. Defendants are immune from liability under the
                     14 Federal Civil Rights Act because their conduct did not violate clearly established
                     15 rights. Defendants are also immune from liability under the doctrine of Qualified
                     16 Immunity.
                     17            255. At all relevant times, Defendant and its agents or officers acted within
                     18 the scope of discretion, with due care, and good faith fulfillment of responsibilities
                     19 pursuant to applicable statutes, rules and regulation, within the bounds of reason, and
                     20 with the good faith belief that their actions comported with all applicable federal and
                     21 state laws. Harlow v. Fitzgerald, 457 U.S. 800 (1982) ; Cal Gov. Code §§ 815.2,
                     22 820.2.
                     23                            TENTH AFFIRMATIVE DEFENSE
                     24                                     (Assumption of Risk)
                     25            256. At the time and place referred to in the Complaint, and before such event,
                     26 Plaintiffs knew, appreciated, and understood each and every risk involved in placing
                     27 themselves in the position which Plaintiffs then assumed, and willingly, knowingly,

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                      1 and voluntarily assumed each of such risk, including, but not limited to, the risk of
                      2 suffering personal bodily injury, lawful deprivation of rights, and/or death.
                      3
                      4                                       JURY DEMAND
                      5            257. Defendants demand a trial by jury as to each issue triable by jury.
                      6
                      7                                   PRAYER FOR RELIEF
                      8            WHEREFORE, the answering Defendants pray as follows:
                      9            1.    That the Complaint be dismissed, with prejudice, and in its entirety;
                     10            2.    That Plaintiffs takes nothing by reason of this Complaint and that
                     11 judgment be entered against Plaintiffs and in favor of Defendants;
                     12            3.    That Defendants be awarded attorneys’ fees and costs of this suit and
                     13 costs of proof; and
                     14            4.    That Defendants be awarded such other relief as the Court deems just.
                     15
                     16 DATED: November 29, 2023
                                                                 LEWIS BRISBOIS BISGAARD & SMITH LLP
                     17
                     18
                     19                                          By:         /s/ Tony M. Sain
                     20                                                   TONY M. SAIN
                     21                                                   ABIGAIL McLAUGHLIN
                                                                       Attorneys for Defendants,
                     22                                                COUNTY OF RIVERSIDE, RIVERSIDE
                     23                                                COUNTY SHERIFF’S DEPARTMENT,
                                                                       SHERIFF C. BIANCO, E. DELGADO, J.
                     24                                                KRACHMER, D. HOLM
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LEWIS                28
BRISBOIS
BISGAARD
& SMITH LLP
                          132391749.1                              65                 Case No. 5:23-cv-01739-JGB (SK)
ATTORNEYS AT LAW                            COUNTY DEFENDANTS’ ANSWER TO PLAINTIFFS’ COMPLAINT
                   Case 5:23-cv-01739-JGB-SK Document 12 Filed 11/29/23 Page 66 of 66 Page ID #:166




                      1                        FEDERAL COURT PROOF OF SERVICE
                      2     Estate of Kaushal Niroula, et al. v. County of Riverside, et al., Case No. 5:23-cv-
                                                     01739-JGB (SK) (51446-28)
                      3
                          STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                      4
                              At the time of service, I was over 18 years of age and not a party to the action.
                      5 My business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071. I
                        am employed in the office of a member of the bar of this Court at whose direction the
                      6 service was made.
                      7            On November 29, 2023, I served the following document(s):
                      8         I served the documents on the following persons at the following addresses
                          (including fax numbers and e-mail addresses, if applicable):
                      9
                        Christian Contreras, Esq.                       Denisse O. Gastélum, Esq.
                     10 LAW OFFICES OF                                  GASTÉLUM LAW, APC
                        CHRISTIAN CONTRERAS                             A Professional Corporation
                     11 Professional Law Corporation                    3767 Worsham Ave.
                        360 E. 2nd St., 8th Floor                       Long Beach, California 90808
                     12 Los Angeles, California 90012                   Tel: (213) 340-6112
                        Tel: (323) 435-8000                             Fax: (213) 402-8622
                     13 Fax: (323) 597-0101                             Email: dgastelum@gastelumfirm.com
                        Email: CC@Contreras-Law.com
                     14
                                                                   Attorneys for Plaintiffs Estate of
                     15 Attorneys for Plaintiffs Estate of Kaushal Niroula, by and through
                        Kaushal Niroula, by and through successors in interest, Radha Niroula
                     16 successors in interest, Radha Niroula and Kirshna Niroula;Radha Niroula,
                        and Kirshna Niroula;Radha Niroula, individually;              Krishna       Niroula,
                     17 individually;     Krishna       Niroula, individually
                        individually
                     18
                              The documents were served by the following means:
                     19
                             (BY U.S. MAIL) I enclosed the documents in a sealed envelope or package
                     20       addressed to the persons at the addresses listed above and I deposited the sealed
                              envelope or package with the U.S. Postal Service, with the postage fully
                     21       prepaid.
                     22           (BY COURT’S CM/ECF SYSTEM) Pursuant to Local Rule, I electronically
                                   filed the documents with the Clerk of the Court using the CM/ECF system,
                     23            which sent notification of that filing to the persons listed above.
                     24        I declare under penalty of perjury under the laws of the United States of
                          America and the State of California that the foregoing is true and correct.
                     25
                                   Executed on November 29, 2023, at Los Angeles, California.
                     26
                     27
                                                                             /s/ Corinne Taylor
LEWIS                28                                                   Corinne Taylor
BRISBOIS
BISGAARD
& SMITH LLP
                          132391749.1                              66                 Case No. 5:23-cv-01739-JGB (SK)
ATTORNEYS AT LAW                            COUNTY DEFENDANTS’ ANSWER TO PLAINTIFFS’ COMPLAINT
